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     In the United States District Court
       for the Southern District of Texas
                       GALVESTON DIVISION
                          ═══════════
                           No. 3:22-cv-57
                          ═══════════

              TERRY PETTEWAY, ET AL., PLAINTIFFS,

                                  v.

           GALVESTON COUNTY, ET AL., DEFENDANTS.

         ══════════════════════════════════════════

                       FINDINGS OF FACT
                                 AND
                    CONCLUSIONS OF LAW
         ══════════════════════════════════════════



                       JEFFREY VINCENT BROWN
                   UNITED STATES DISTRICT JUDGE
                      United States Courthouse
                       601 Rosenberg Avenue
                       Galveston, Texas 77550
                           (409) 766-3737




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      Introduction
      This is a redistricting case brought under the Voting Rights Act and the

Fourteenth and Fifteenth Amendments. It was tried to the bench from

August 7–18.

      On the third day of trial, William S. Cooper1—one of the experts for the

NAACP plaintiffs2—perfectly described the heart of this case, which

challenges the commissioners-precinct plan that the Galveston County

Commissioners Court adopted in November 2021 (“the enacted plan”) that

dismantled Precinct 3—the only Black-and-Latino-dominant 3 precinct in the

county:

      Q.   What, if anything, do you observe about the differences
      between [the] benchmark and now the new 2021 enacted [plan]?
      A.    Well, if you look at the underlying census data, Precinct 3
      went from being a Black plus Latino majority precinct to being a
      precinct with the lowest percentage of Blacks and Latinos in the

      1 As noted infra, Cooper has nearly four decades of experience drawing

voting plans for about 750 United States jurisdictions. Dkt. 223 at 9–10. He has
testified as an expert on redistricting and demographic analysis in federal court
fifty-five times. Id. at 10; see also PX-341.
      2 The NAACP plaintiffs include Dickinson Bay Area Branch NAACP,
Galveston Branch NAACP, Mainland Branch NAACP, Galveston LULAC Council
151, Edna Courville, Joe A. Compian, and Leon Phillips. United States v. Galveston
County, No. 3:22-cv-97, ECF No. 38 (May 31, 2022).
      3 Unless otherwise specified, the court uses the term “Black” to refer to

individuals who identify as Black or African American. It also uses “Latino” to refer
to individuals who identify as Latino or Hispanic and “Anglo” for those who
identify as White/Caucasian.

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      county. . . . It’s just a textbook example of a racial gerrymander.4
      It’s —it’s egregious. I have never seen anything this bad. Because
      normally if a minority-majority district is in place, then you are
      not going to see a locality attempt to eliminate it unless [it] had
      no choice due to demographic changes.
      Here there was absolutely no reason to make major changes to
      Precinct 3. It was just — it was mean-spirited. I’ve never —
      I mean, I’m just blown away by this. It’s not fair, and . . . I am at
      a loss for words.
Dkt. 223 at 42–43.5 The court finds the defendants’ actions to be

fundamentally inconsistent with § 2 of the Voting Rights Act. Although

Galveston County is no longer subject to preclearance, the defendants still

must comply with the edicts of § 2. They have not done so here. So the court

has reached a grave conclusion: it must enjoin the defendants from using the

enacted map in future elections.

                                  *     *     *

      On June 1, 2022, the court consolidated Civil Action Nos. 3:22-cv-93

and 3:22-cv-117 with Civil Action No. 3:22-cv-57, resulting in one action

under Civil Action No. 3:22-cv-57. Dkt. 45. All three sets of plaintiffs—the




      4 Although the Petteway plaintiffs challenged the enacted plan under the

Constitution as a racial gerrymander, the court decided this matter under the
Voting Rights Act. Accordingly, it does not reach the racial-gerrymandering claim.
      5 Page citations refer to the PDF page number, not the document’s internal

pagination.

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Petteway plaintiffs, 6 NAACP plaintiffs, and the United States—challenge the

enacted plan as violating § 2 of the Voting Rights Act. The Petteway and

NAACP plaintiffs also challenge the enacted plan as (1) intentionally

discriminatory against Galveston County’s Black and Latino voters in

violation of the Fourteenth and Fifteenth Amendments and (2) racially

gerrymandered in violation of the Fourteenth Amendment.

      The court convened a bench trial on August 7, 2023, which lasted until

August 18. After thoroughly reviewing the entire record, the court finds that

the enacted plan illegally dilutes the voting power of Galveston County’s

Black and Latino voters by dismantling Precinct 3, the county’s historic and

sole majority-minority commissioners precinct. The enacted plan distributes

the county’s Black and Latino voters, who comprise 38% of the county’s

eligible voter population, among all four newly drawn commissioners

precincts. As a result, those minority voters have been subsumed in majority-

Anglo precincts in a county with legally significant racially polarized voting.

Under the enacted plan, Anglo voters will likely continue to vote as a bloc to

usually elect candidates who are not the Black and Latino voters’ candidates


      6 The Petteway plaintiffs include the Honorable Terry Petteway, Constable

Derrick Rose, and the Honorable Penny Pope. Dkt. 42. Michael Montez and Sonny
James were previously a part of this group, but Sonny James voluntarily dismissed
his claims, Dkt. 100, and the court dismissed Michael Montez’s claims after
granting the defendants’ motion to dismiss, Dkt. 142.

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of choice, preventing Black and Latino voters from participating equally in

county government.

      The court finds in favor of the plaintiffs and enjoins the use of the

enacted plan.

      Findings of Fact
      1.    Findings of fact and conclusions of law are required in all actions

“tried on the facts without a jury.” Fed. R. Civ. P. 52(a)(1). A district court

must “find the facts specially and state its conclusions of law separately.” Id.

“Rule 52(a) does not require that the district court set out findings on all

factual questions that arise in a case.” Valley v. Rapides Par. Sch. Bd., 118

F.3d 1047, 1054 (5th Cir. 1997); see also Century Marine Inc. v. United

States, 153 F.3d 225, 231 (5th Cir. 1998) (quoting Burma Navigation Corp.

v. Reliant Seahorse M/V, 99 F.3d 652, 656 (5th Cir. 1996)) (noting that

Rule 52(a) “exacts neither punctilious detail nor slavish tracing of the claims

issue by issue and witness by witness”). Instead, a court satisfies Rule 52 if it

“afford[s] the reviewing court a clear understanding of the factual basis for

[its] decision.” Holman v. Life Ins. Co. of N. Am., 533 F. Supp. 3d 502, 506

(S.D. Tex. 2021) (quoting Interfirst Bank of Abilene, N.A. v. Lull Mfg., 778

F.2d 228, 234 (5th Cir. 1985)). And if the court fails to make a specific finding

on a particular issue, the reviewing court “may assume that the court



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impliedly made a finding consistent with its general holding so long as the

implied finding is supported by the evidence.” Century Marine Inc., 153 F.3d

at 231.

      2.    To the extent that any factual finding reflects or is better

understood as a legal conclusion, it is also deemed a conclusion of law.

Likewise, to the extent that any legal conclusion reflects or is better

understood as a factual finding, it is also deemed a factual finding.

      A. Procedural History
      3.    In February 2022, the Petteway plaintiffs challenged the enacted

plan as discriminatory and in violation of § 2 of the Voting Rights Act, the

Fourteenth Amendment, and the Fifteenth Amendment. Dkt. 1.

      4.    About one month later, the United States filed suit, alleging that

the enacted plan violates § 2 of the Voting Rights Act. See United States v.

Galveston County, No. 3:22-cv-93 (S.D. Tex. Mar. 24, 2022), Dkt. 1.

      5.    Three weeks later, the NAACP plaintiffs also filed suit

challenging the enacted plan under the Fourteenth and Fifteenth

Amendments and § 2 of the Voting Rights Act. Dickinson Bay Area Branch

NAACP v. Galveston County, No. 3:22-cv-117 (S.D. Tex. Apr. 14, 2022),

Dkt. 1.




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      6.    In May 2022, the NAACP plaintiffs moved to consolidate these

three cases. Dkt. 37. The court granted the motion and ordered the cases

consolidated in June 2022. Dkt. 45.

      7.    Also in June 2022, the defendants filed separate motions to

dismiss the three consolidated complaints, arguing that the court lacked

jurisdiction and the plaintiffs had failed to state a claim for relief. Dkts. 46,

47, 48. The court partially granted the defendants’ motion related to the

Petteway plaintiffs’ complaint, dismissing Michael Montez based on lack of

standing. Dkt. 125 at 12–13. The court otherwise denied the motions. Id.;

Dkts. 123, 124.

      8.    In May 2023, the defendants moved for summary judgment on

two grounds: (1) the three preconditions required to establish the § 2 claims

under Thornburg v. Gingles, 478 U.S. 30 (1986); and (2) the racial

predomination in map-drawing needed for the Petteway and NAACP

plaintiffs’ racial-gerrymandering claims. Dkt. 176. The court denied the

motion two months later. Dkt. 200.

      9.    The court held a ten-day bench trial beginning on August 7, 2023.

It heard live testimony from several of the individual plaintiffs—Constable

Derrick Rose, the Honorable Penny Pope, Edna Courville, Joe A. Compian

(in his individual capacity and on behalf of LULAC Council 151), and Lucretia


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Henderson-Lofton (on behalf of Dickinson Bay Area NAACP). Dkts. 221

at 55–104; 222 at 8–61, 211–79; 226 at 62–111, 188–215. The plaintiffs also

presented live testimony from other county residents who are current and

former elected officials: Lucille McGaskey, Robert Quintero, Sharon Lewis,

Joe Jaworski, Pastor William Randall, Patrick Doyle, and Commissioner

Stephen Holmes. Dkts. 221 at 105–79; 226 at 8–61, 112–87, 216–30; 228

at 11–64.

     10.    The court also heard expert testimony offered by the plaintiffs.

William S. Cooper, Dr. Tye Rush, and Anthony E. Fairfax testified on the first

Gingles precondition, illustrative map configurations, and redistricting

principles. Dkts. 223 at 9–193; 224 at 9–162. Drs. Matthew A. Barreto,

Jessica Trounstine, and Kassra A.R. Oskooii (“the quantitative experts”)

testified on the second and third Gingles preconditions. Dkts. 223 at 194–

329; 224 at 163–349. Finally, Drs. Traci Burch, Rene R. Rocha, and Max

Krochmal testified on the totality of the circumstances and indicia of

discriminatory intent. Dkts. 222 at 62–210; 225 at 10–283.

      11.   By agreement, the parties presented live testimony from Judge

Mark Henry, Commissioner Joe Giusti, Commissioner Darrell Apffel,

redistricting consultant Dale Oldham, and mapping consultant Thomas




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Bryan. Dkts. 228 at 166–356; 231 at 8–308; 232 at 8–163, 289–379. After

this testimony, the plaintiffs closed their case in chief.

      12.   The defendants presented live testimony from Commissioner

Robin Armstrong and County Clerk Dwight Sullivan. Dkt. 230 at 191–219,

231–68. The court also heard expert testimony from Dr. Mark Owens, who

addressed the first Gingles precondition, and Dr. John Alford, who

addressed racially polarized voting. Id. at 10–190; Dkt. 232 at 164–288.

Following this testimony, the defendants rested.

      13.   After resting, the defendants moved for judgment on partial

findings under Fed. R. Civ. P. 52(c) on all claims, which the court denied.

Dkt. 230 at 272–85.

      14.   About three weeks after trial, the parties filed post-trial closing-

argument briefing, Dkts. 240, 241, 242, 244, along with proposed findings of

fact and conclusions of law, Dkts. 239, 245. They then filed response briefing

one week after that. Dkts. 246, 247, 248, 249. The court reviewed these

materials when preparing these findings and conclusions.

      B. Parties
             Plaintiffs
      15.   The Honorable Terry Petteway is a Black resident of the city of

Galveston. PX-607 ¶¶ 2–3. Under the election plan adopted as part of the

2011 redistricting cycle (“the benchmark plan”), Petteway’s home sat in

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Precinct 3, and Commissioner Holmes represented him. Id. ¶ 6. But under

the enacted plan, Petteway now resides in commissioners Precinct 2, which

Commissioner Giusti represents. Id. ¶ 7. Petteway is a registered voter who

has voted in commissioners-court elections and intends to vote in these

elections in the future. Id. ¶¶ 4–5.

      16.   The Honorable Penny Pope is a Black resident of the city of

Galveston. Dkt. 222 at 8–9. She is a former justice of the peace who

represented Justice of the Peace/Constable (“JP/constable”) Precinct 3 for

twenty-six years. Id. at 9, 12. Under the benchmark plan, Judge Pope’s home

sat in commissioners Precinct 3. Id. at 21. But under the enacted plan, she

now resides in Precinct 2. Id. She is a registered voter who regularly votes in

Galveston County elections. Id. at 10.

      17.   Constable Derrick Rose is a Black resident of Texas City. Dkt. 221

at 55. Since 2005, he has served as the elected constable for JP/constable

Precinct 3. Id. at 57–59. Under the benchmark plan, Constable Rose’s home

sat in Precinct 3. Id. at 56, 60. But under the enacted plan, he now resides in

commissioners Precinct 1, which Commissioner Apffel represents. Id. at 60.

Constable Rose is a registered voter who regularly votes in Galveston County

elections. Id. at 55–56.




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      18.   Joe Compian is a Latino resident of La Marque. Dkt. 226 at 62.

Under the benchmark plan, Compian’s home sat in Precinct 3. Id. But under

the enacted plan, he now resides in Precinct 4 and is represented by Dr.

Armstrong. Id. Compian is a member of LULAC Council 151 and is a

registered voter who votes religiously. Id. at 63–66. He intends to vote in the

future. Id. at 63–64.

      19.   Edna Courville is a Black resident of Texas City. Dkt. 222 at 211.

She used to reside in Precinct 3 under the benchmark plan but now lives in

Precinct 4 under the enacted plan. Id. at 218. Courville is registered to vote,

votes regularly, and intends to vote in the future. Id. at 219. She is a member

of the Mainland Branch of the NAACP. Id. at 215–16.

      20.   Leon Phillips is a Black resident of the city of Galveston. DX-310

at 7. He is a member of the Galveston Branch of the NAACP. Id. at 21. Under

the benchmark plan, he lived in Precinct 3. Id. at 32. But under the enacted

plan, he now resides in Precinct 2. DX-34 at Row 31383. He is a registered

voter and intends to vote in future elections.

      21.   The Dickinson Bay Area Branch of the NAACP is a nonprofit,

nonpartisan membership organization and is an affiliate branch of the Texas

State Conference of the NAACP. Dkt. 204-6 ¶ 27. The Dickinson Branch

serves Dickinson and League City and has at least fifty members, including


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members who lived in benchmark Precinct 3. Dkt. 226 at 200–01. One such

member includes Lucille McGaskey, who now lives in Precinct 4. Dkt. 221

at 106, 123; DX-34 at Row 95740; DX-115 at Row 133363. The Dickinson

Branch’s mission, consistent with the national NAACP and all other local

NAACP units, includes educating people on discrimination and voting and

helping people register to vote. Dkt. 226 at 199–200.

     22.   The Galveston Branch of the NAACP is a nonprofit, nonpartisan

membership organization and is an affiliate branch of the Texas State

Conference of the NAACP. Dkt. 204-6 ¶ 27. The Galveston Branch has about

sixty members, all living or working in Galveston County. PX-605 ¶¶ 4–5.

After the 2021 redistricting cycle, at least one Galveston Branch member who

was a resident of benchmark Precinct 3 has been redistricted into a different

commissioners precinct. Id. ¶ 6. As a unit of the national NAACP, the

Galveston Branch’s mission includes educating people on discrimination and

voting, as well as helping people register to vote. See Dkt. 226 at 199–200.

     23.   The Galveston LULAC Council 151 is a civic organization in

Galveston County and an independent unit of the League of United Latin

American Citizens. Dkts. 204-6 ¶ 28; 226 at 65–66. LULAC’s goals include

supporting and advocating for civil rights and improving Latinos’

participation in the political system. Dkt. 226 at 66. After the 2021


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redistricting cycle, at least one LULAC member who was a resident of

benchmark Precinct 3 has been redistricted into a different commissioners

precinct.

     24.      The Mainland Branch of the NAACP is a nonprofit, nonpartisan

membership organization and is an affiliate branch of the Texas State

Conference of the NAACP. Dkt. 204-6 ¶ 27. The Mainland Branch has over

fifty members who live or work in Texas City, La Marque, and Hitchcock.

PX-606 ¶¶ 7–8. As a unit of the national NAACP, the Mainland Branch’s

mission includes educating people on discrimination and voting, as well as

helping people register to vote. See Dkt. 226 at 199–200; see also Dkt. 222

at 216. At least one Mainland Branch member in Galveston County was a

resident of the benchmark Precinct 3 and has been redistricted into a

different commissioners precinct. PX-606 ¶ 9.

     25.    The United States is represented by the Department of Justice.

Congress has vested the Attorney General with the authority to enforce § 2

of the Voting Rights Act on the United States’ behalf. See 52 U.S.C.

§ 10308(d).

              Defendants
     26.      Galveston County is a political and geographical subdivision in

southeast Texas on the Gulf of Mexico. Dkt. 204-6 ¶ 1.



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      27.   Galveston County Commissioners Court is the county’s

governing body. Tex. Const. art. V, §§ 15, 16, 18(a)−(b). The commissioners

court consists of a county judge elected at-large as the presiding officer and

four county commissioners elected from single-member precincts, all

serving four-year, staggered terms. Dkt. 204-6 ¶ 2. The commissioners court

that adopted the enacted plan consisted of Judge Henry, Commissioner

Apffel (Precinct 1), Commissioner Giusti (Precinct 2), Commissioner

Holmes (Precinct 3), and Commissioner Ken Clark (Precinct 4). Id. ¶ 25.

      28.   Judge Mark Henry has been the county judge since 2010. Id. ¶ 4.

The plaintiffs sued Judge Henry in his official capacity as Galveston County’s

chief officer. See, e.g., Dkt. 42 ¶ 33.

      29.   Defendant Dwight D. Sullivan is the incumbent county clerk for

Galveston County. Dkt. 230 at 233. Sullivan’s office oversees all county

elections, which involves supervising poll workers, polling sites, ballot

creation, and ballot tabulation. Id. at 233–34.




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      C. Expert Witnesses’ Credibility7
            Gingles Precondition One
      30.   The plaintiffs’ experts William Cooper, Anthony Fairfax, and

Dr. Tye Rush testified about the first Gingles precondition for § 2 vote-

dilution claims—whether Black and Latino residents in Galveston County are

sufficiently large and geographically compact to constitute a majority in a

single-member district. Dkts. 223 at 9–190; 224 at 9–162.

      31.   Each expert testified to forming their opinions by using publicly

available data from the Census Bureau and applying standard and reliable

redistricting methods in conducting their analyses and forming their

opinions. Dkts. 223 at 15–17, 17; 224 at 22–26, 85–86, 92–93, 97; PXs-337

at 10–13; 342.

      32.   Cooper has nearly four decades of experience drawing voting

plans for about 750 United States jurisdictions. Dkt. 223 at 9–10. He has

testified on redistricting and demographic analysis in federal court fifty-five

times. Id. at 10; see also PX-341. Cooper submitted, and the court received




      7 The court’s findings on the expert witnesses’ qualifications, reliability, and

credibility are limited to this case. They are not informed in any way by any
testimony that may have been presented to the court in other cases and do not
apply to future matters before this court.

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into evidence, principal and rebuttal reports addressing the first Gingles

precondition. PXs-386, 438.

      33.   The court recognized Cooper as an expert on redistricting,

demographic analysis, and the first Gingles precondition. Dkt. 223 at 11–12.

After receiving Cooper’s testimony and reviewing his reports, the court finds

his analyses, opinions, and testimony credible.

      34.   Fairfax has over thirty years of map-drawing, demography, and

redistricting experience. Dkt. 224 at 74–75. He testified that he has

developed or helped develop hundreds of redistricting plans. Id. at 75–77.

Fairfax has testified as an expert in redistricting matters nine times. Id. at 80.

He submitted, and the court admitted into evidence, both his initial and

rebuttal reports addressing the first Gingles precondition. PXs-337, 454.

      35.   The court recognized Fairfax as an expert on map-drawing,

demography, redistricting, and census data as it applies to the first Gingles

precondition. Dkt. 224 at 81. After receiving Fairfax’s testimony and

reviewing his reports, the court finds his analyses, opinions, and testimony

credible.

      36.   Dr. Rush is the president’s postdoctoral fellow at the University

of California, San Diego, and has expertise in mapping and political

geography. Id. at 12–14; PX-486. He holds a Bachelor of Arts in political


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science from the University of California, Riverside, and a Master of Arts and

Ph.D. in political science from the University of California, Los Angeles.

Dkt. 224 at 11–12. Dr. Rush previously was a senior policy fellow at the UCLA

Voting Rights Project, where he led research projects, conducted mapping

analyses, and taught mapping. Id. at 13. He also was a redistricting and

voting fellow at Common Cause, where he taught mapping to lawyers and

assisted with census research. Id. Dr. Rush has also taught mapping and

political geography at the university level, and clients have hired him to

perform political mapping. Id. at 13–14. He submitted, and the court

admitted into evidence, both an initial and a rebuttal report as well as a

supplemental declaration addressing the first Gingles precondition.

PXs-485–487.

      37.   The court recognized Dr. Rush as an expert on political

geography, mapping, and electoral behavior. Dkt. 224 at 14–15. After

receiving Dr. Rush’s testimony and reviewing his reports, the court finds his

analyses, opinions, and testimony credible.

      38.   The defendants offered testimony from Dr. Mark Owens on the

first Gingles precondition. Dkt. 232 at 164–288. Dr. Owens holds a Bachelor

of Arts in political science from the University of Florida, a Master of Arts in

government from Johns Hopkins University, and a Ph.D. in political science


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from the University of Georgia. Id. at 165–66; DX-290 at 27. While working

on his Ph.D. dissertation, he was also a visiting doctoral student at the

University of Oxford. Dkt. 232 at 166.

      39.   After completing his Ph.D., Dr. Owens was a visiting assistant

professor of American politics at Bates College. Id. at 168–69. After that, he

joined the University of Texas at Tyler’s faculty, where he taught classes and

conducted research on American political institutions and elections. Id.

at 169. At UT-Tyler, he developed expertise and published works on Texas

politics and elections. Id. at 173. He recently accepted a position as a

professor of political science at the Citadel, where he will continue his

teaching and research. Id. at 175.

      40.   At trial, the court allowed Dr. Owens to proffer expert opinions

on the first Gingles precondition and the population dispersion of minority

groups in Galveston County. Id. at 198. But the court does not find his

testimony on these topics credible. He neither describes himself as an expert

nor even claims to focus any of his work on either redistricting or the first

Gingles precondition. Id. at 189–90. Instead, he concentrates his work on

the federal legislative process. Id. at 190. None of Dr. Owens’s coursework

included training on the technical aspects of drawing a voting plan, id. at 193,

and he has not published any peer-reviewed work on any of the issues he


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opined on in his report, id. at 193–94. Dr. Owens has never taught a course

on the technical aspects of drawing a voting plan. Id. at 196. Other than part

of a single class on southern politics, he does not teach any specialized

courses to graduate students on the Gingles standard. Id. at 197.

     41.   Before forming his opinions, Dr. Owens had reviewed fewer than

ten voting plans for compactness—and only two of those professionally. Id.

at 195. His only redistricting experience involved assisting a nonprofit by

drawing statewide maps in Oklahoma that were neither considered by any

court of law nor used in any election. Id. at 195–96. And his report revealed

a fundamental misunderstanding of traditional redistricting principles. See,

e.g., DX-290 at 16 (providing a table with an average population deviation

instead of the maximum deviation); id. at 252–54.

     42.   Given the widespread shortcomings in Dr. Owens’s testimony in

this case, the court assigns little to no weight to Dr. Owens’s opinions on

traditional redistricting principles, the geographic dispersion of minority

populations, and the first Gingles precondition.

           Gingles Preconditions Two and Three
     43.   The plaintiffs’ experts Drs. Matthew Barreto, Jessica Trounstine,

and Kassra Oskooii testified about the second and third Gingles

preconditions—whether (1) Black and Latino residents are politically



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cohesive and (2) Anglo voters sufficiently bloc vote to enable them to usually

defeat their preferred candidate, respectively. See generally Dkts. 223

at 194−265; 224 at 163−349.

     44.   Drs. Barreto, Trounstine, and Oskooii base their opinions on

quantitative analyses of demographic data and election results. PXs-356

¶¶ 20−37; 384 ¶¶ 16−29; 476 ¶¶ 25–40; 501 ¶¶ 1−10.

     45.   Dr. Barreto is a political-science and Chicano-studies professor

at the University of California, Los Angeles. Dkt. 223 at 196−97; PX-384 ¶ 2.

He is a co-founder and faculty director of the Latino Policy and Politics

Initiative at UCLA and the UCLA Voting Rights Project. Dkt. 223 at 196−197;

PX-384 ¶ 2. Dr. Barreto has testified dozens of times in federal court on

racially polarized voting, demographic change, map-making, and public

polling. Dkt. 223 at 206−07; PX-384 ¶ 2. The court recognized Dr. Barreto

as an expert in mapping, racially polarized voting, demographic change,

racial and ethnic politics, and Gingles preconditions two and three. Dkt. 223

at 209.

     46.   After receiving Dr. Barreto’s testimony and reviewing his reports,

the court finds his analyses, opinions, and testimony credible.

     47.   Dr. Trounstine is a political-science professor at Vanderbilt

University. PX-604 at 1. Before Vanderbilt, she was the Foundation Board of


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Trustees Presidential Chair of Political Science at the University of

California, Merced. Id. She also served as an assistant professor of politics

and public affairs at Princeton University. Id. Dr. Trounstine holds a Ph.D.

and a Master of Arts in political science from the University of California,

San Diego, and a Bachelor of Arts in political science from the University of

California, Berkeley. Id.

      48.   Dr.    Trounstine     has     published    several      peer-reviewed

publications, id. at 1−3, including two award-winning books published by

university presses. Id. at 1. One of those books, Political Monopolies, “is

about how local political coalitions get built,” “how those coalitions end up

electing officials to office,” “how those officials keep themselves in power for

multiple     decades,”      and    “the     consequences         those   political

monopolies . . . have for . . . representation.” Dkt. 224 at 167.

      49.   As part of her academic work, Dr. Trounstine has analyzed “the

building of political coalitions,” “racial group representation,” and “the

political voting patterns of various racial, ethnic, and class groups, as well as

other groups along gender lines.” Id. at 168−69. As part of her academic

work, Dr. Trounstine has also “looked at the various ways that coalitions are

built over time.” Id.




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      50.   Dr. Trounstine is currently an Andrew Carnegie Fellow. PX-604

at 3. She was awarded the fellowship to “write a book on local political

polarization in the United States.” Dkt. 224 at 168.

      51.   The court recognized Dr. Trounstine as an expert in political

science, particularly statistical analysis of group voting patterns and the

ability of groups to elect their candidates of choice. Id. at 170−71. Having

received Dr. Trounstine’s testimony and reviewed her reports and

declaration, the court credits her analyses, opinions, and testimony and

grants them substantial weight.

      52.   Dr. Oskooii is a tenured associate professor of political science at

the University of Delaware and is a faculty member at the university’s Data

Science Institute. Id. at 273–76. He has published peer-reviewed works on

racially polarized voting analyses and served as an expert in Voting Rights

Act cases nationwide. Id. The court recognized Dr. Oskooii as an expert on

racially polarized voting analysis. Id. at 278.

      53.   The defendants’ expert on the second and third Gingles

preconditions, Dr. John Alford, testified that he greatly respects Dr. Oskooii

as a methodologist. Dkt. 230 at 151. Dr. Alford agreed with the numerical

accuracy of Dr. Barreto’s and Dr. Oskooii’s ecological-inference results and

adopted their results for his analysis. Id. at 99–100. Having received Dr.


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Oskooii’s testimony and reviewed his reports and declaration, the court

credits his analyses, opinions, and testimony and grants them substantial

weight.

      54.   Dr. Alford has been a professor in Rice University’s political-

science department for thirty-five years. Id. at 12. He teaches courses on

elections and voting behavior, and has served as a testifying expert for about

30 years. Id. No court has ever declined to recognize him as an expert on the

second and third Gingles preconditions. Id.

      55.   At trial, the parties stipulated to Dr. Alford’s expertise on the

second and third Gingles preconditions. Id. at 12–13. After receiving Dr.

Alford’s testimony and reviewing his reports, the court finds his analyses,

opinions, and testimony credible.

            Senate Factors and Arlington Heights Factors
      56.   Dr. Traci Burch is an associate professor of political science at

Northwestern University and a research professor at the American Bar

Foundation. Dkt. 222 at 64; PX-414 at 3, 52. She is an expert in political

behavior, political participation, barriers to participating in politics, barriers

to voting, race and ethnic politics, and criminal justice. Dkt. 222 at 64–65.

She has been an expert in federal and state court on barriers to voting and




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felony disenfranchisement, as well as both the Senate and Arlington Heights

factors. Id. at 66–67.

         57.   Dr. Burch testified about the racially discriminatory intent of the

2021 redistricting plan. Id. at 72–110. Dr. Burch also testified on the Senate

factors. Id.

         58.   Reflecting a reliable application of Senate Factors 5 through 9 to

the facts of this case, Dr. Burch based her opinions on a review of sources

and methods that are standard for political scientists and social scientists,

including the relevant political-science literature. Id. at 68–69. Dr. Burch

also collected relevant data and analyzed publicly available information from

websites, meeting records, newspaper articles, census data, and surveys. Id.

at 69.

         59.   Reflecting a reliable application of the Arlington Heights factors,

Dr. Burch’s opinions are based on her analysis of relevant demographic data

and county-specific primary sources, including statements by Judge Henry,

the commissioners, and the public. See generally PX-414. She also bases her

opinions on peer-reviewed political-science and sociological studies, which

is standard practice for political scientists and social scientists. Dr. Burch

“cast a fairly wide net,” surveying public records and statements made by

decision-makers and Galveston County residents. Dkt. 222 at 69–71.


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      60.   The court qualified Dr. Burch as an expert in this case. Id. at 67.

After receiving Dr. Burch’s testimony and reviewing her reports, the court

finds her analyses, opinions, and testimony credible.

      61.   The United States’ expert, Dr. Rene Rocha, testified about the

Senate factors. Dkt. 225 at 192–279. Dr. Rocha is the Herman J. and Eileen

S. Schmidt Chair and Professor of Political Science and Latino Studies at the

University of Iowa. Id. at 193; PX-336 at 1. He conducts research and teaches

courses about race and ethnic politics, immigration policy, and voting rights.

Dkt. 225 at 193. He has previously served as an expert in a § 2 case in federal

court. Id. at 196–98.

      62.   Dr. Rocha’s opinions are based on relevant demographic data,

county-specific primary sources, and peer-reviewed political-science and

sociological studies. His research included reviewing census and American

Community Survey data, federal- and state-government documents, court

decisions, peer-reviewed academic work, websites, and newspaper articles.

He gathered evidence of incidents and events in Galveston County that fell

within Senate Factors 1, 2, 3, 5, and 6. PX-335; id. at 192–283.

      63.   The court qualified Dr. Rocha as an expert in this case. Dkt. 225

at 199. After receiving Dr. Rocha’s testimony and reviewing his reports, the

court finds his analyses, opinions, and testimony credible.


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         64.   Finally, the United States’ last expert—Dr. Max Krochmal—is a

history professor and the Czech Republic Endowed Professor and Director of

Justice Studies at the University of New Orleans. Id. at 11; PX-317. Dr.

Krochmal researches and teaches courses on the history of the American

South, African American history, Latino/Latina history, and multiracial

coalitions, focusing on Texas history during the twentieth century. Dkt. 225

at 11.

         65.   Dr. Krochmal testified about the racially discriminatory intent of

the 2021 redistricting plan. Id. at 36, 74–95. His testimony cataloged

discriminatory events undertaken by local and state entities against Black

and Latino residents in Galveston County that affected the right to vote. Id.

at 52–67. Based on his research, Dr. Krochmal concluded that there was

sufficient evidence to find a history of official, voting-related discrimination

in Galveston County. Id. at 34–35.

         66.   Reflecting a reliable application of the Arlington Heights factors

and the events leading up to the enacted plan, Dr. Krochmal bases his

opinion on the historical method. Id. at 36–52; PX-412 at 8–9. To reach his

conclusions here, Dr. Krochmal analyzed more than 300 newspaper articles,

years of commissioners-court agendas and minutes, video streams, primary

sources in archives, oral-history interviews, and multiple days of fieldwork.


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Dkt. 225 at 36–52. Dr. Krochmal examined Galveston County’s past

redistricting cycles, the specific sequence of events leading up to the 2021

redistricting plan, and the history of discrimination against the county’s

Black and Latino population. See generally PX-412.

      67.    The court recognized Dr. Krochmal as an expert. Dkt. 225 at 32–

33. The court also noted Dr. Krochmal’s advocacy within his community and

how, at times, he provided legal and political opinions favorable to the

plaintiffs. After hearing and observing Dr. Krochmal’s testimony, reviewing

his report, and considering the defendants’ arguments and evidence

proffered to show his bias, the court still finds his testimony credible—

although less than that of Drs. Burch and Rocha.

      D. Galveston County Demographics and Voting Patterns
      68.    According to the 2020 Census, Galveston County has a total

population of 350,682—54.6% Anglo, 25.3% Latino, and 13.3% Black.

Dkt. 204-6 ¶ 6. The combined Black and Latino population represents about

38.6% of the countywide population. PX-386 ¶ 26.8



      8 Cooper explained there are several possible definitions of “Black”—such as

non-Latino and any-part Black, non-Latino and DOJ Black, and single-race
Black—in a demographic analysis. Dkt. 223 at 20–23. For Galveston County’s
population, the differences are “fairly insignificant” for overall population, and “de
minimis” for citizen-voting-age population (“CVAP”) calculations, and thus do not
alter the court’s analysis. Id.


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      69.   Commissioners Precinct 3, which historically covered portions of

Dickinson, La Marque, Texas City, and the city of Galveston, was the only

majority-minority precinct in Galveston County from 1991 to 2021. Id. ¶ 38;

PX-412 at 33–34.

      70.   The historic core of Precinct 3 was the product of advocacy by

Black and Latino activists to create a majority-minority precinct in which

they could elect a candidate of choice in the 1991 redistricting cycle. PX-412

at 32–37. This advocacy occurred shortly after the 1988 election of the first

Black member of the commissioners court, Wayne Johnson, in a close

campaign marked by racially polarized voting. Id. at 23–25; Dkt. 225 at 62–

65.

      71.   Over time, Precinct 3 became an important political homebase

for Black and Latino residents. “It was responsive. It was reflective of their

priorities. And people took great pride and ownership in it.” Dkt. 225 at 71;

see also Dkts. 226 at 190–91; 228 at 46 (discussing how “different groups of

people” take pride “not only in the precinct itself and the cohesiveness in the

precinct itself but even the pride they have in their elected official as the

county commissioner”).

      72.   By 2020, benchmark Precinct 3’s CVAP was 58.31% Black and

Latino. PX-386 ¶ 46. On the other hand, the enacted plan has no


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commissioners precinct with a Black and Latino CVAP larger than 35%. Id.

¶ 58. Ironically, Precinct 3 now has the smallest such population at 28%. Id.

            Sufficiently Large and Geographically Compact
     73.    The Black community in Galveston County primarily resides in

the center of the county—Texas City, La Marque, Dickinson, Hitchcock, and

the city of Galveston. Meanwhile, the Latino community is evenly dispersed

throughout the county.

      74.   Both parties agree that there is not a sufficiently large, compact,

and separate Latino or Black population to constitute a majority-Latino or

majority-Black precinct in Galveston County. They also agree, however, that

when treated as a coalition, the Black and Latino populations are sufficiently

large and compact to support a majority-minority commissioners precinct.

The court finds both propositions to be true.

      75.   During the 2021 redistricting process, the commissioners court

considered a proposed map—Map 1—that featured a reasonably compact

commissioners precinct with a majority Black and Latino population by

CVAP. That precinct—Precinct 3—was 30.86% Black and 24.28% Latino by

CVAP. PX-487 ¶ 65.

      76.   The commissioners court’s legal consultant for the redistricting

process, Dale Oldham, testified that Map 1 was legally defensible. Dkt. 231



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at 122–23. The plaintiffs’ experts also testified that Map 1 met the first

Gingles precondition. See Dkt. 224 at 73; cf. PX-386 ¶¶ 70–80; Dkt. 223 at

51–55.

     77.   The illustrative plans that the plaintiffs presented at trial

demonstrate that Galveston County’s Black and Latino population is

sufficiently large to constitute a majority by CVAP in a single commissioners

precinct. Cooper drafted four illustrative plans that all include a majority

Black and Latino commissioners precinct by CVAP. See generally PXs-386

¶¶ 81–96; 439 at 2. Cooper Plans 1, 2, 3, and 3A each include an illustrative

commissioners precinct with 57.65%, 57.72%, 55.27%, and 54.52% Black and

Latino CVAP, respectively, as calculated using the 5-Year 2017-2021 ACS

Special Tabulation. PX-439.

     78.   Fairfax’s illustrative plan likewise includes a majority Black and

Latino commissioners precinct. According to the 2020 Census redistricting

dataset and the 2016-2020 ACS 5-Year ACS Data, Fairfax’s illustrative plan

includes a commissioners precinct with 55.15% Black and Latino CVAP.

Dkt. 224 at 109–11; PXs-337 ¶ 47; 551.

     79.   For his initial report, Dr. Rush created three illustrative plans

containing Precinct 3 configurations wherein the Black and Latino

communities together formed a majority by CVAP. PX-487 ¶¶ 34–54. The


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CVAP in Dr. Rush’s plans was calculated using the 2020 Census redistricting

dataset and the 2016–2020 5-year ACS Data. Id. The Precinct 3

configurations in his three initial plans exhibit a Black and Latino CVAP of

56.6%, 61.2%, and 57.5%, respectively. Id. Dr. Rush also presented a fourth

plan with a Black and Latino CVAP of 57.92%. PX-486 at 19.

      80.   Dr. Rush subsequently created four additional plans containing

coastal precincts, each unifying the county’s entire county coastline into one

commissioners precinct without fragmenting the mainland minority

population. Id.; see also PXs-415–418. Texas Legislative Council-generated

reports confirm that three of the coastal precinct plans contain a Precinct 3

in which the combined Black and Latino CVAP is over 50%. PX-485 ¶ 8.

               Traditional Redistricting Criteria
      81.   All the plaintiffs’ experts on the first Gingles precondition

credibly testified to applying traditional redistricting criteria in developing

their illustrative maps.

      82.   Dr. Owens’s criticisms of the plaintiffs’ illustrative plans do not

overcome their experts’ testimony, leaving intact the plaintiffs’ argument

that each plan comports with traditional redistricting criteria.

      83.   NAACP Plaintiffs’ Illustrative Plans (Cooper). Cooper developed

Cooper Map 1 by shifting just two voting precincts from the benchmark plan,



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a “least-change” approach he deemed acceptable for Galveston County based

on the characteristics of its population changes over the past decade.

Dkt. 223 at 56–57; PX-386 ¶¶ 81–86. This least-change plan demonstrates

the minimum number of changes necessary to eliminate malapportionment

and brings the commissioners precincts within an “almost perfect deviation.”

Dkt. 223 at 58; PX-386 ¶ 31.

      84.   In Cooper Map 1, all commissioners precincts are contiguous,

and Precinct 3 is reasonably compact given the county’s complex geography.

Dkt. 223 at 58. This plan keeps eleven municipalities whole and has fifteen

populated municipal splits. PX-349 at 5–6. It respects municipal and

political-subdivision boundaries better than the enacted plan, which keeps

nine municipalities whole but has sixteen populated municipal splits as well

as four populated voting-district splits. PX-346 at 5–6. Racial considerations

did not predominate in drawing Cooper Map 1. Dkt. 223 at 58. Cooper Map

1 adheres to traditional redistricting principles and is reasonably configured.

Id. at 62; PX-386 ¶ 86.

      85.   Cooper also developed Cooper Map 2 using a least-change

strategy for equalizing populations while also including an entirely coastal

Precinct 2. Dkt. 223 at 62–63; PX-386 ¶¶ 87–90. At 0.57%, the total

population deviation is “even closer” to zero than that of the enacted plan.


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Dkt. 223 at 64; PX-350 at 3. All commissioners precincts are contiguous, and

Cooper Map 2 keeps ten municipalities whole with fifteen populated splits.

Dkt. 223 at 66; PX-350 at 4–5. Cooper Map 2 has nine populated voting-

district splits, which Cooper explained were split to prioritize creating a

coastal commissioners precinct that would be contiguous by driving.

Dkt. 223 at 66; PX-350 at 6. Cooper testified that Precinct 3 in Cooper Map 2

is reasonably compact. Dkt. 223 at 67. Racial considerations did not

predominate in drawing Cooper Map 2. Id. at 63. Cooper Map 2 adheres to

traditional redistricting principles and is reasonably configured.

      86.   Cooper developed Cooper Maps 3 and 3A by attempting to unify

all offshore islands in a single precinct. Dkt. 223 at 68; PXs-386 ¶¶ 92–96;

438 ¶¶ 35–38. The population deviations for both plans are below 5%. PXs-

351 at 3; 443 at 3. Cooper included Cooper Map 3A as a slightly modified

version of Cooper Map 3 to allow Precinct 1 to be contiguous by driving

without requiring entry across the Moses Lake Floodgate. Dkt. 223 at 70–72;

PX-438 ¶ 35.

      87.   Cooper Map 3 keeps nine municipalities whole and includes

sixteen populated splits, while Cooper Map 3A keeps nine municipalities

whole and includes fifteen populated splits. PXs-351 at 5; 443 at 5. Cooper

Maps 3 and 3A have three voting-district splits, one less than the enacted


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plan. PXs-351 at 6; 443 at 6. Both are reasonably compact. Dkt. 223 at 68–

69, 75. Race did not predominate in the development of either map. Id. at 70,

75–76. Cooper Maps 3 and 3A adhere to traditional redistricting principles

and are reasonably configured.

      88.   In sum, all the Cooper illustrative plans adhere to traditional

redistricting criteria without pairing any incumbents or predominating race.

Cooper Maps 2, 3, and 3A prove that achieving these metrics and

maintaining a majority-Black and Latino precinct is possible, even with a

unified coastal precinct.

      89.   United States’ Illustrative Plan (Fairfax). Fairfax developed an

illustrative plan using the least-change approach to equalize the population

among the commissioners precincts. Using this approach, he shifted only

one voting district from Precinct 2 to Precinct 3 to bring the precinct’s

population deviations within the accepted guideline range of 5% and the total

deviation under 10%. Dkt. 224 at 97–102; PX-337 ¶¶ 38–41. All

commissioners precincts are contiguous. Dkt. 224 at 106–07; PX-340 at 9.

Fairfax testified that his illustrative plan is reasonably compact and more

compact than the benchmark plan. Dkt. 224 at 115–17. The illustrative plan

is also similarly compact as compared to the enacted plan. PXs-454 ¶ 4; 557.




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      90.   Fairfax testified that his illustrative plan adhered to traditional

redistricting   criteria,   including   equal   population,   contiguity,   and

compactness. Dkt. 224 at 104, 107. Fairfax’s illustrative plan also maintained

the same municipality and voting-district splits as the benchmark plan.

Racial considerations did not predominate in drawing Fairfax’s illustrative

plan. Id. at 103. Therefore, Fairfax’s illustrative plan adheres to traditional

redistricting principles and is reasonably configured.

      91.   Petteway Plaintiffs’ Illustrative Plans (Rush). Each precinct in

Dr. Rush’s eight illustrative plans is contiguous. PXs-415–418, 485, 486, 487.

      92.   Dr. Rush’s illustrative plans have an overall plan deviation under

10%, and seven of his eight plans are within the 5% guideline.

      93.   Precinct 3 in Dr. Rush’s illustrative plans is reasonably compact,

as are the other three commissioners-court precincts in each of those plans.

Dkt. 224 at 22–23; PXs-486, 487. Each precinct in Dr. Rush’s illustrative

plans is also comparatively compact when measured against the districts in

the enacted and the benchmark plans. PXs-486, 487.

      94.   Dr. Rush’s illustrative plans respect political and precinct

boundaries. For example, Dr. Rush’s Demonstrative Plans 1, 2, and 2b do not

split any voting districts. PX-487 ¶¶ 38, 44. In addition to respecting political




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boundaries, Dr. Rush’s illustrative plans keep together communities of

interest. See Dkt. 224 at 21–22; PX-486 at 5–6.

      95.   Finally, racial considerations did not predominate in drawing Dr.

Rush’s illustrative plans, as he did not consider race or ethnicity while

creating his maps. Dkt. 224 at 22, 27. Given this evidence, Dr. Rush’s

illustrative plans adhere to traditional redistricting principles and are

reasonably configured.

      96.   Defendants’ Assessment of Plaintiffs’ Illustrative Plans (Owens).

Although the court gives Dr. Owens’s testimony almost no weight, Dr. Owens

generally agreed that the plaintiffs’ plans were “about as reasonably compact

as the enacted plan.” Dkt. 232 at 229, 276. He also agreed that it is common

to use a least-change approach when rebalancing populations following a

census. Id. at 259–60. Dr. Owens charged that the plaintiffs’ illustrative

plans used race as a predominating factor, but failed to explain what made

him believe that, other than his work “comparing the outcomes” of the maps.

Id. at 258. Nor did he dispute that the plaintiffs’ experts used non-racial

traditional redistricting criteria. Id. at 256–58.

      97.   Dr. Owens’s opinions do not change the court’s findings that the

plaintiffs’ illustrative plans exemplify several ways to draw a reasonably




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compact commissioners precinct featuring a majority Black and Latino

CVAP and comporting with traditional redistricting principles.

      98.   Conclusions Regarding Traditional Redistricting Principles.

Overall, Cooper, Fairfax, and Dr. Rush’s illustrative plans confirm that the

combined Black and Latino population is sufficiently large and

geographically compact. In their maps, Blacks and Latinos would constitute

a majority by CVAP in a single commissioners precinct that is reasonably

configured and adheres to traditional redistricting principles.

      99.   The illustrative plans would preserve Precinct 3 as a majority-

minority precinct. Indeed, there are a “multitude of potential plans adhering

to traditional redistricting principles that would result in maps that maintain

a majority [Black and Latino] CVAP [c]ommissioners [p]recinct.” PX-386

¶ 97; see also Dkts. 223 at 52; 224 at 117–18; PX-337 ¶ 63.

      100. The plaintiffs’ illustrative plans further show that the

commissioners court could retain a majority-minority precinct even if it

prioritizes creating a unified coastal precinct.

               Geographically Compact
      101. Dr. Owens opined that Galveston County’s minority population

is neither geographically nor culturally compact. The court assigns no weight

to these opinions.



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      102. Dr. Owens did not cite any academic literature to support his

analysis. Dkt. 232 at 232. Concerning the Latino population, Dr. Owens

based his conclusion on the distances between discrete concentrations of

Latino residents, ranging from 305 people to 7,637. Id. at 237–40. He

provided no authority or reference for the significance of those distances or

even a definition for what would be considered “distant and disparate” in

Galveston County. See id. at 237–40; DX-290.

      103. When testifying that Blacks and Latinos are not “culturally

compact,” Dr. Owens had no basis for disputing that Black and Latino

residents throughout Galveston County fare worse than their Anglo

counterparts across most socio-economic measures. Dkt. 232 at 247–49. He

analyzed only three of the twenty potential socio-economic factors available

Id. at 245–46. When presented with factors that did not favor his opinion,

he admitted to inconsistently choosing which factors to examine. Id. at 246.

Additionally, he did not analyze how these groups compared to their Anglo

counterparts. Id. at 247.

      104. The court also does not credit the defendants’ assertions that

Blacks and Latinos are not culturally similar because minority residents in

League City have higher standards of living than those in the rest of the

county. Although League City is more affluent than other parts of the county,


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“disparities between Black and Latino residents as compared to their Anglo

counterparts persist even in League City, which indicates that they share the

common socio-economic challenges of Black and Latino residents in

Galveston.” PX-438 at 5; see also Dkt. 223 at 184. Blacks and Latinos are

more affluent in League City than in the rest of the county, but that does not

disprove the overwhelming evidence that they share similar socio-economic

struggles countywide and in Precinct 3.

      105. Although not nearly as probative as the quantitative socio-

economic data, lay-witness testimony adduced at trial supports this

conclusion. For example, Lucretia Henderson-Lofton is a former president

of the Dickinson Bay Area NAACP and a Black resident of League City.

Dkt. 226 at 188, 198–99. Born on Galveston Island and raised in Texas City,

Henderson-Lofton moved to League City in 2016. Id. at 189. She testified to

the racial discrimination her family and others have experienced in League

City and the significant contacts that she maintains in Texas City. Id. at 189–

90, 193–98, 204–07.

      106. Given this evidence, the court finds that Galveston County’s

Black and Latino population is sufficiently large and geographically compact

to constitute a majority in a single commissioners precinct that is both

reasonably configured and comports with traditional redistricting principles.


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            Politically Cohesive
      107. Using ecological-inference methods, the plaintiffs’ quantitative

experts demonstrated that Black and Latino voters in Galveston County are

cohesive in that a large majority of these voters have consistently favored the

same candidates across a series of elections. PXs-356, 384, 476; Dkts. 223 at

226; 224 at 184, 188–89, 199, 279−82. These results were consistent across

several data sources and in hundreds of statistical models. PXs-356, 384,

465, 476; Dkts. 223 at 221−32; 224 at 175.

      108. Racially polarized voting “describes an electorate in which

[Anglo] voters favor and vote for certain candidates . . . and minority voters

vote for other candidates.” Rodriguez v. Harris County, 964 F. Supp. 2d 686,

756 (S.D. Tex. 2013) (quoting LULAC, Council No. 4434 v. Clements, 986

F.2d 728, 744 (5th Cir. 1993)). The existence of racially polarized voting does

not necessarily mean that voters are racist or harbor racial animus. See id. at

757 (noting that the correct question is “not whether [Anglo] voters

demonstrate an unbending or unalterable hostility to whoever may be the

minority group’s representative of choice, but whether, as a practical matter,

such bloc voting is legally significant”).

      109. Ecological inference is a reliable and standard method of

measuring racially polarized voting. PXs-384 ¶¶ 18–21; 476 ¶ 25; Dkt. 223 at



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216−17, 219. Two forms of ecological inference, King’s Ecological Inference

(“King’s EI”) and RxC EI, use aggregate data to identify voting patterns

through statistical analysis of candidate choice and racial demographics

within a precinct. PXs-384 ¶¶ 18–21; 476 ¶ 25; Dkt. 223 at 216−17, 219.

      110. RxC EI is appropriate for analyzing elections with more than two

candidates or more than two racial or ethnic groups. PXs-384 ¶ 18; 476 ¶ 25;

Dkt. 224 at 188. The plaintiffs’ quantitative experts produced estimates using

both King’s EI and RxC EI.

      111.   In addition to CVAP and Spanish Surname Turnout data used in

King’s EI and RxC EI, Dr. Barreto and his co-author, Dr. Michael Rios,

conducted a Bayesian Improved Surname Geocoding (“BISG”) analysis of

Galveston County elections to more precisely assess voting patterns by race

and ethnicity. PX-465.

      112. BISG analysis creates a probability that a given voter who

participated in an election is of a particular racial or ethnic group based on

his or her surname and the racial composition of the census block. Id. ¶¶ 30–

34. Because Latinos vote at lower rates than Anglo and Black voters, BISG is

particularly useful for narrowing in on the vote choices of Latino voters who

participate in elections. Dkt. 223 at 242−44. Studies have validated the

reliability of using BISG for analyzing racially polarized voting. Id. at 236.


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      113. Dr. Oskooii replicated and reproduced Dr. Barreto’s BISG results

and achieved highly consistent results. PX-505. Dr. Oskooii testified that

BISG is a reliable method and is widely employed across various industries

and applications. Dkt. 224 at 305−06. Dr. Alford agreed that BISG is reliable

for estimating Latino voting patterns in Texas. Dkt. 230 at 160. The court

finds that BISG is a reliable methodology for assessing racially polarized

voting patterns.

      114. The experts agree that there is no universal way to determine

cohesion. Instead, they determine cohesion by analyzing elections that show

a particular pattern within the relevant jurisdiction. Dkts. 224 at 301; 230 at

100–01; PX-476 ¶¶ 27−28, 30; DX-305 at 2.

      115. The undisputed RxC EI analyses from Drs. Oskooii and Barreto

show that, on average, over 85% of Black and Latino voters have voted for

the same candidate countywide and within the illustrative Precinct 3 plans

contained in those reports. PXs-356 at 14, 23; 465 ¶ 36; see also Dkt. 224 at

184, 188−89, 199.

      116. The undisputed RxC EI analyses from Drs. Barreto and Oskooii

show most Latinos and Blacks have separately voted for the same candidate

in almost all general elections. PXs-372 at 2, 4; 384 ¶ 46. Drs. Barreto and

Rios’s BISG-based analysis shows even stronger cohesion among Latino


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voters, with over 75% favoring the same candidates in most of the twenty-

nine elections they assessed. PX-465 ¶ 39. Dr. Oskooii’s BISG analysis

confirmed these results. PX-505 ¶¶ 1–8. These analyses show that Latino

voters consistently supported the Black-preferred candidate and that Black

voters consistently supported the Latino-preferred candidate. PX-465 ¶ 39.

Dr. Alford did not dispute Drs. Barreto and Rios’s BISG results. Dkt. 230 at

161.

       117. Dr. Barreto agreed that the wider confidence interval for Latino

voter cohesion stems from standard error. Dkt. 223 at 283. He observed that

a lower standard error generates a tighter confidence interval, while a higher

standard error generates a broader confidence interval for the exact point

estimate. Id. at 288. Despite wider confidence intervals for Latino voters, Dr.

Barreto had “equal faith” in the point estimates he reported in the BISG

analysis. Id. at 289–92. Dr. Oskooii’s estimates also had broad confidence

intervals for Latino voters. Recognizing Dr. Alford’s concerns about the

reliability of the wide confidence intervals, the court still finds it to be

probative evidence of Latino voter cohesion and attributable to the smaller

sample sizes of Latino voters.




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      118. Dr. Alford considered the voting patterns of Anglos, Blacks, and

Latinos separately, and testified that it would be hard to find “a more classic

pattern of what polarization looks like in an election.” Dkt. 230 at 17–18.

      119. Here, the most probative election results demonstrate cohesion

between Black and Latino voters in Galveston County. All experts agreed that

recent elections are more probative and can more reliably confirm cohesion

and polarization than more distant elections. PX-356 ¶ 22; Dkts. 223 at

247−48; 224 at 139, 176. Due to the limited number of contested

endogenous 9 elections, it was necessary to analyze exogenous elections.

PXs-384 at 17−40 (analyzing twenty-eight exogenous elections across five

election cycles); 476 at 33; Dkt. 224 at 281.

      120. Exogenous elections encompassing Galveston County, such as

those for Attorney General and Governor, are more probative than elections

covering only portions of the county, such as municipal elections. Dkts. 224

at 181−82, 280; 230 at 144–45. The exogenous elections that cover the entire

county show consistently high levels of cohesion. PXs-384 at 17−40; 356 at

14; 476 at 46–47.



      9 Endogenous elections are “contests within the jurisdiction and for the

particular office that is at issue.” Rodriguez, 964 F. Supp. 2d at 759. Exogenous
elections are “elections in a district for positions that are not exclusively
representative of that district.” Id.

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        121. All experts agreed that general elections are more probative than

primary elections in this case; this includes determining inter-group

cohesion, i.e., cohesion between Black and Latino voters in Galveston

County. Dkt. 223 at 246−47; 224 at 181−87, 262−63; 230 at 145–46, 149;

PXs-465 ¶ 27; 476 ¶ 34.

        122. Primary elections have limited probative value in determining

inter-group cohesion for several reasons. First, in the context of “racial[-]

and ethnic[-]coalition building[,] . . . coalitions get built in the general

election,” not the primary election. Dkt. 224 at 181−87. Second, because

primary elections generally have low turnouts, the resulting estimates are

less robust and do not present a good picture of most voters for any

demographic group. Id. at 292–93; PX-356 ¶ 24. Third, candidate

preferences are not as likely to be as strong for any candidate given that

candidates’ ideological positions in the same party are likely closer than

those in different parties in a general election. Dkt. 224 at 292–93; PX-356

¶ 24.

        123. Primary elections for the commissioners court are rarely

contested, with lower levels of voter participation among all racial and ethnic

groups—but especially Black and Latino voters. PXs-356 ¶ 24; 465 ¶ 27;

Dkt. 224 at 292–93.


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      124. Considering their limited probative value, the primary elections

that Dr. Oskooii analyzed show a steady presence of inter-group cohesion

between Black and Latino voters. In nine out of the ten primary elections he

studied, Black and Latino voters voted cohesively. PX-356 ¶¶ 64–65.

      125. Between Drs. Oskooii and Alford, the analyzed results show that

Blacks and Latinos usually support the same top-choice candidate in primary

contests. Id. ¶ 64; DX-305 at 18–19; Dkt. 224 at 302–03.

      126. The 2012 primary election for Precinct 3 provides very probative

evidence because it is the most recent endogenous contest for Precinct 3.

Dkt. 230 at 140–42. That election featured a highly cohesive Black and

Latino electorate. Id. at 140.

      127. Dr. Alford observed that several of the examined Democratic

primary elections did not feature racially polarized voting because Anglo,

Black, and Latino voters supported the same candidates. Id. at 30−31, 37−39,

47−48, 70. But on cross-examination, Dr. Alford admitted that this

observation is irrelevant when determining racial cohesion between Black

and Latino voters. Id. at 125−28, 130–31. And Dr. Alford acknowledged that

when considering the third Gingles precondition, in general elections (in

which voters can elect—rather than just nominate—a candidate of their

choice), Anglo voting behavior is especially relevant. Id. at 131−32. The court


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thus does not credit Dr. Alford’s observation about Anglo voting behavior in

Democratic primaries for purposes of the second or third Gingles

preconditions.

     128. Two data limitations restrict the probative value of the local

nonpartisan elections analyzed in this case. First, the local nonpartisan

elections cover smaller geographic areas than any individual county-

commissioners precincts. Dkt. 224 at 182. They often encompass very few

election precincts, see, e.g., DX-287, thereby limiting the demographic

information available to produce estimates, Dkts. 224 at 283−84; 230

at 67−68. Second, in many local nonpartisan elections there were multiple

candidates and low voter turnout—two features that contribute to instability

in ecological-inference estimates. Dkt. 224 at 294, 325−26. The local

nonpartisan races also have less probative value than partisan general

elections because commissioners-court races are partisan contests. PX-465

¶ 25. The court therefore assigns little weight to the analyses of local

nonpartisan elections.

     129. Even so, local nonpartisan elections show cohesion between

Black and Latino voters in Galveston County. PX-476 ¶ 56. Further,

successful minority candidates in nonpartisan elections are primarily elected




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from majority-minority districts, see, e.g., Dkt. 230 at 265, which is

consistent with racially polarized voting patterns, id. at 165.

      130. Based on their analyses, the plaintiffs’ quantitative experts

concluded that Black and Latino voters in Galveston County are cohesive.

PXs-356 ¶ 6; 384 ¶¶ 23–24; 476 ¶¶ 6, 34; Dkt. 224 at 184.

      131. Although less probative than the quantitative evidence, lay

testimony also shows political cohesion between Blacks and Latinos in

Galveston County. Community leaders testified that Black and Latino voters

in Galveston County vote cohesively. See, e.g., Dkts. 221 at 133−34; 226 at

15, 130. Several witnesses testified that the Black and Latino communities in

Galveston County share interests and policy preferences, including those

addressing education, housing, healthcare, and employment. Dkts. 221 at

65, 109−10, 133−34; 222 at 32−36; 226 at 67−68, 128−30, 156−57, 197−98,

204, 207−08. Galveston County’s local LULAC and NAACP branches often

collaborate, sharing services and resources. Dkt. 226 at 86, 117, 120–21, 204.

Several witnesses are members of both organizations. Dkts. 222 at 217; 226

at 14, 65, 201−02, 204.

      132. Thus, the court finds that Blacks and Latinos vote cohesively in

Galveston County.




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             Cannot Elect Candidate of Choice
      133. The evidence adduced at trial shows that Anglo voters in

Galveston County engage in bloc voting such that a large majority of the

county’s Anglo voters favor their own candidates in both countywide and

precinct-only elections. The high level of Anglo bloc voting usually prevents

Black and Latino voters in Galveston County from electing their candidates

of choice.

      134. An electoral-performance/reconstituted-election analysis is a

technique used to examine how candidates would have fared under different

maps or precinct boundaries. PXs-356 ¶ 68; 476 ¶¶ 38−40; see also PX-384

¶ 46. The plaintiffs’ quantitative experts used this method to analyze

elections encompassing the entirety of Galveston County for the enacted plan

and the plaintiffs’ illustrative maps. PXs-356 ¶¶ 67−75; 384 ¶¶ 44−48; 476

¶¶ 38−40, 58.

      135. Under the enacted plan, Anglo bloc voting defeated the candidate

of choice of Black and Latino voters in every election in every commissioners

precinct. PXs-356 ¶¶ 71−72; 384 ¶¶ 44−46; 476 ¶ 58; Dkt. 224 at 205,

288−89.

      136. All three electoral-performance/reconstituted-election analyses

from Drs. Barreto and Rios, Dr. Oskooii, and Dr. Trounstine establish that



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the candidate of choice of Black and Latino voters won in Precinct 3 in every

election under the plaintiffs’ illustrative maps. PXs-356 ¶¶ 72−75; 384

¶¶ 44−46; 476 ¶ 58.

     137. Dr. Alford also analyzed whether Anglo bloc voting is sufficient

to defeat minority-preferred candidates in the enacted plan. Dkt. 230 at 123.

He did not dispute the plaintiffs’ quantitative experts’ electoral-

performance/reconstituted-election analyses. Id.; see generally DX-305.

     138. A direct relationship exists between a precinct’s demographic

composition and a specific candidate’s likelihood of success in any given

election. As the minority percentage moves up or down, the performance of

minority-preferred candidates moves in direct proportion. Dkt. 224 at

289−90. This relationship supports a finding of racially polarized voting and

complements the ecological-inference estimates the quantitative experts

performed in this case. Id.; PX-356 ¶¶ 74−75.

     139. In most of the recent general elections, over 85% of Anglos across

Galveston County voted for candidates running against the minority-

preferred candidates. PXs-356 ¶ 40; 384 ¶¶ 22−24. Similarly high levels of

bloc voting are present at the individual-precinct level in the enacted

commissioners precincts. PX-356 at 19.




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      140. The plaintiffs’ quantitative experts concluded that these patterns

at the county level also exist at the commissioner-precinct level. Dr. Oskooii

found that there is Anglo bloc voting in the enacted plan’s precincts and that

there is cohesive minority voting in Cooper’s illustrative maps. Id. ¶¶ 56−62.

Dr. Barreto found that Anglo and non-Anglo voters are sharply polarized in

their voting patterns in each of the four enacted precincts. PX-465 ¶¶ 44−46.

Similarly, Dr. Trounstine found the same polarized voting pattern in Precinct

3 in Fairfax’s illustrative map. PX-501 ¶ 2; see also Dkt. 224 at 198−99. The

court credits the quantitative experts and agrees with their conclusions.

      141. All experts agree that Anglo bloc voting usually defeats the Black

and Latino candidate of choice in Galveston County elections in every

precinct analyzed in the enacted plan.

      142. The court finds that voting in Galveston County is racially

polarized such that Anglo voters usually vote as a bloc to defeat the candidate

of choice of Black and Latino voters.

            On Account of Race
      143. The defendants contend that partisanship alone explains the

racially divergent voting patterns in Galveston County. To the extent that

partisanship explains the voting patterns in the county, it still does not

change the fact that the data unerringly points to racially polarized voting.



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     144. The parties agree that Anglo bloc voting exists in Galveston

County such that Blacks and Latinos could not elect candidates of their

choice. They also agree that Anglos in Galveston County, who comprise a

supermajority, are mostly Republican and that Blacks and Latinos are mostly

Democrats. The plaintiffs argue that race and politics are “inextricably

intertwined,” Dkt. 247 at 6 n.3, while the defendants and Dr. Alford contend

that partisan affiliation is the “main driver of voter behavior,” Dkt. 244 at

54–58.

      145. Dr. Alford did not analyze whether any factors other than race or

party identification explain the divergent racial voting patterns in partisan

elections in Galveston County. Dkt. 230 at 107−08. He admits that assessing

“partisan polarization” in addition to racial polarization is not standard

practice among redistricting experts. Id. at 88. Characterizing the typical

redistricting expert as being, unlike himself, an “advocate[] for a particular

position,” Dr. Alford defended his focus on the difference between racial and

partisan polarization. Id. at 88–89.

      146. Dr. Alford testified that political-issue attitudes are distinct from

party identification and that party identification, unlike issue attitudes, is

primarily the result of socialization. Id. at 77–79. Tellingly, he based his

conclusions regarding the role of partisanship versus race primarily on one


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election: the 2018 Senate race between Senator Ted Cruz and Beto O’Rourke.

Id. at 53, 166.

      147. Although partisanship undoubtedly motivates voting behaviors

in Galveston County, the defendants failed to show that a race-neutral

explanation explains the racially divergent voting patterns. Dr. Oskooii

testified that Black and Latino voters were cohesive behind their preferred

candidate in about 93% of racially contested elections, while Anglo voters

were cohesive behind the Anglo-preferred candidate. Dkt. 224 at 298–300;

PX-452 ¶ 7.

      148. The racial composition of political parties in Galveston County,

measured through participation in each party’s primaries, further suggests

that the county’s electorate is racially polarized. All experts agree that

relatively few Anglo voters in Galveston County participate in Democratic

Party primaries. PX-465 ¶¶ 13−17; Dkt. 224 at 293; 300; see also PX-476 at

A-12; Dkt. 230 at 109−10. Conversely, relatively few Black and Latino voters

in Galveston County participate in the county’s Republican primaries. PX-

465 ¶¶ 17−19; Dkt. 224 at 183, 300; PX-476 ¶ 21. No Black or Latino

Republican has ever won a primary election to be the Republican Party’s

nominee for county judge or a county commissioner. PX-465 ¶ 17.

Commissioner Armstrong, who is Black, was appointed and did not


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participate in a Republican primary election. Dkt. 230 at 197. He ran

uncontested in the general election. Dkt. 224 at 298−99.

       149. In general elections in Galveston County, Anglos overwhelmingly

vote   for   Republican    candidates.    PX-452     ¶ 8.   Meanwhile,    Blacks

overwhelmingly vote for Democrat candidates, and Latinos very often

support the same candidates. See PX-476 at 33.

       150. Although it is not very probative, national scholarship on

political trends helps to further explain the link between race and

partisanship in Galveston County. See PX-384 ¶¶ 30−43. “The fact that Black

and Latino voters tend to support candidates from one party is a reflection

of their cohesion, not an alternative explanation for it.” PX-476 ¶ 35. The

history of discrimination resulting in ongoing socio-economic disparities

and barriers to voting along racial lines also contributes to a finding that race,

not partisanship alone, drives the voting patterns seen in Galveston County.

       151. Moreover, Galveston County voters provided testimony of

racially polarized voting based on their lengthy residences in the county,

their elections to public office, or both. See Dkts. 221 at 128–29, 133–34; 222

at 17; 226 at 130. Although anecdotal and isolated, this evidence further

supports that race provides a plausible explanation for voting patterns in

Galveston County.


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      152. The court therefore finds that a partisan explanation for voting

patterns in Galveston County does not overcome the weighty evidence of

racially polarized voting on account of race.

      E. Discriminatory Impact of the Enacted Plan
      153. The enacted plan converted the benchmark Precinct 3 from the

precinct with the highest percentage of Black and Latino residents to the one

with the lowest. Dkt. 223 at 42–43. According to 2016–2020 ACS Special

Tabulation data from the census, benchmark Precinct 3 is about 58% Black

and Latino by CVAP. PX-386 ¶ 46. But after the 2021 redistricting, Precinct 3

now includes the lowest Black and Latino CVAP proportion of any precinct—

about 28%—and the Black and Latino population is evenly distributed

throughout the remaining precincts—with each one containing a range of

32% to 35% Black and Latino CVAP. Id. ¶ 58.

      154. Accordingly, Black and Latino residents fail to comprise a

majority in any new commissioners precinct—despite comprising about 38%

of the overall population and 32% of the CVAP. Id. ¶ 31.

      155. The plaintiffs’ quantitative experts established that Black and

Latino voters will usually fail to elect a candidate of their choice in any

commissioners precinct within the enacted plan. PXs-356 ¶¶ 70–74; 384

¶¶ 44–46; Dkt. 224 at 288–89.



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      156. Anglo voters comprise 64.1% of the county’s voting age

population but now control 100% of the electoral outcomes for Galveston

County commissioners court. See PX-487 ¶ 14.

      157. The        county’s   redistricting   counsel,     Oldham,      likewise

acknowledged that the benchmark plan included a performing precinct for

minority voters while the enacted plan no longer does. Dkt. 231 at 178. The

enacted plan creates an evident and foreseeable impact on racial minorities

in Galveston County by eliminating the sole majority-minority precinct. See

Dkt. 222 at 110. 10

      158. The court finds that the enacted plan disproportionately affects

Galveston County’s minority voters by depriving them of the only

commissioners precinct where minority voters could elect a candidate of

their choice. Likewise, the court finds that the commissioners court was

aware of that fact when it adopted the enacted plan.

      F. Galveston County Voting and Redistricting
      159. For § 2 vote-dilution claims, a plaintiff must show under the

“totality of circumstances” that the “challenged political process is not

‘equally open’ to minority voters.” Allen v. Milligan, 599 U.S. 1, 18 (2023).


      10 Several witnesses testified that it was obvious on the face of the map that

the enacted plan would fracture minority communities. Dkts. 221 at 62–63; 222 at
248–49; 226 at 21–22, 69, 77.

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District courts use the Senate Judiciary Committee’s Report accompanying

the 1982 amendment to the Voting Rights Act to inform this determination,

which provides several non-exhaustive factors to consider. S. Rep. No. 97-

417, at 40 (1982) [hereinafter S. Rep.]. For intentional-discrimination

claims, the Fifth Circuit follows the framework in Village of Arlington

Heights v. Metropolitan Housing Development Corp. to determine whether

a legislative body passed a redistricting plan with discriminatory purpose.

429 U.S. 252 (1977). The court will identify the factual findings that pertain

to each framework as it presents those findings.

            History of Discrimination in Voting Practices
      160. The first Senate factor is the history of official voting-related

discrimination in the political division. Similarly, the first Arlington Heights

factor is the historical background of the decision.

      161. Galveston County was a center for buying and selling enslaved

Black people during the Antebellum era. Dkt. 225 at 52–53. After the Civil

War, race relations in the county reflected those seen across much of the

South, including segregation and Jim Crow laws. Id. 53–54; PX-412 at 13–

14. At the same time, “state-supported practices and laws in a variety of

different areas of life” came together to segregate Latinos in Galveston

County, a system termed Juan Crow. Dkt. 225 at 57–58; PX-412 at 10–12.



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      162. The discrimination against Black and Latino residents in

Galveston County extended to voting. Dkt. 225 at 58. For instance, the Texas

legislature passed a poll tax in 1903, which required payment each January.

PX-412 at 13; id. at 54–55. This affected many Black and Latino voters

because many were agricultural laborers, and few had cash on hand in

January due to the timing of the agricultural cycles. See Dkt. 225 at 54–55.

During much of the twentieth century, the Texas Democratic Party allowed

only Anglos to vote in its primary, preventing Black and Latino voters from

participating in the “elections and caucuses that really mattered.” PX-412 at

13–15.

     163. Restrictions on voting for minorities remained present in Texas

even after the Voting Rights Act in 1965 and its 1975 extension. Before 2013,

§ 5 of the Voting Rights Act “required States to obtain federal permission

before enacting any law related to voting.” Shelby County v. Holder, 570 U.S.

529, 534 (2013). Section 4(b) provided the coverage formula that defined the

“covered jurisdiction” that must follow this preclearance process. Id. at 538–

39. From 1975 to 2013, Galveston County was subject to § 5 preclearance.

PX-412 at 15; Dkt. 225 at 58, 75. Preclearance subjected Galveston County to

multiple objection letters from the Attorney General. PX-335 ¶¶ 19–23.




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      164. Nevertheless, several witnesses acknowledged that it is easier to

vote now than it has ever been in Galveston County. Dkts. 221 at 157; 222 at

58; 230 at 245. The county adopted countywide voting centers, which allow

voters to “vote anywhere on election day or early voting.” Dkt. 230 at 238. It

is also relatively easy to register to vote in the county. See, e.g., Dkts. 221 at

82; 222 at 258–59; 230 at 202, 245. Early voting lasts two weeks in

Galveston County. Dkt. 221 at 155–57.

      165. Sullivan testified that if a mail-in ballot required postage and the

voter failed to affix it, the clerk’s office would pay for the postage because it

“want[s] every vote to count.” Dkt. 230 at 245–46.

      166. The county provides election materials in English and Spanish

for all elections. Dkt. 226 at 82.

      167. Judge Henry has not heard any complaint in the last ten years

that the county prevented someone from being able to vote. Dkt. 228 at 248.

      168. The county collaborates with LULAC and allows them to use

county property for its Cinco de Mayo event. Dkt. 230 at 236. The event is a

blend of a cultural festival and a get-out-the-vote effort. Id. at 235–36.




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             Attorney General’s Objections
        169. Since 1976, Galveston County and its political subdivisions have

been the subject of six objection letters from the Attorney General. PX-335

¶ 19.

        170. In 1976, the Attorney General objected to Texas City’s proposal

to adopt a numbered-post system for city-council elections. PXs-1; 335 ¶ 20;

Dkt. 225 at 202–03. After examining the history of governmental

discrimination, racial-bloc voting, and the city’s responsiveness to minority

concerns, the Attorney General could not conclude that the city’s proposal

would not have a racially discriminatory effect. PX-1.

        171. In 1992, the Attorney General objected to Galveston County’s

redistricting plans for JP/constable districts. PXs-2; 335 ¶ 26; Dkt. 225 at

203. The Attorney General’s letter noted that Black and Latino residents

were not a majority in any of the eight districts despite comprising 31.4% of

the county’s population. PX-2 at 1. County officials had “rebuffed” multiple

requests from minorities to create a district where they would have an equal

opportunity to elect candidates of their choice. Id. Ultimately, the county

entered a consent decree concerning the 1992 JP/constable redistricting

plan. PX-563.




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     172. Also in 1992, the Attorney General objected to the city of

Galveston’s proposal to modify how city-council members are elected—from

six at-large districts to four single-member districts, with two members

elected at large to numbered posts. PXs-3; 335 ¶ 21; Dkt. 225 at 203–04.

After noting that several minority candidates unsuccessfully ran for city

council because of racially polarized voting, the Attorney General did not

preclear this change. PX-3. Ultimately, the city entered a consent decree to

elect all city-council members from single-member districts. PX-335 ¶ 21.

     173. In 1998, the city of Galveston again sought to change the method

of electing its city council from six single-member districts to four single-

member districts and two at-large posts—the same scheme to which the

Attorney General filed an objection in 1992. PXs-4; 335 ¶ 22; Dkt. 225 at 204.

Noting that two of the six single-member districts had elected minority

officials, the Attorney General concluded that reverting to two at-large

districts would retrogress minority voting strength. PX-4 at 2–3.

     174. In 2001, the city of Galveston asked the Attorney General to

reconsider the objection to four single-member and two at-large districts.

But in 2002, he declined to withdraw the objection. PX-335 ¶ 22.

     175. In 2011, the city of Galveston again sought to change the method

of electing its city council from six single-member districts to four single-


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member districts, with two members elected at large to numbered posts.

PXs-47; 335 ¶ 23; Dkt. 225 at 205. The Attorney General objected to this

change, noting that racial-bloc voting played a significant role in city

elections and that minority candidates could elect candidates of choice from

three of the six single-member districts. PXs-47 at 3–4; 335 ¶ 23.

      176. In 2012, the Attorney General objected to Galveston County’s

2011 redistricting plans for the commissioners and JP/constable precincts.

JX-6; PX-335 ¶ 26; Dkt. 225 at 205–06. The JP/constable-precinct plan

proposed reducing the number of justices of the peace from nine to five and

the number of constables from eight to five. JX-6 at 1–2. The Attorney

General’s letter noted that minority voters could elect candidates of choice in

Precincts 2, 3, and 5. Id. at 4. For Precincts 2 and 3, this ability resulted from

a court order in Hoskins v. Hannah, No. G-92-12 (S.D. Tex. Aug. 19, 1992),

that created these precincts. Id. Under the proposed plan, minority voters’

ability to elect a candidate of choice would be reduced to one precinct. Id.

      177. In 2012, the Attorney General also concluded that the county had

not met its burden of showing that the commissioners court did not adopt its

proposed plan with a discriminatory purpose. JX-6. The Attorney General

found that the county had failed to adopt, as it had in previous redistricting

cycles, a set of criteria by which it would be guided in the redistricting


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process. Id. at 2. The Attorney General’s letter noted that: (1) this procedural

deviation was a deliberate decision by the county to avoid being held to a

procedural or substantive standard of conduct; (2) the process may have

been characterized by the deliberate exclusion from meaningful involvement

of Commissioner Holmes; and (3) the proposed changes would reduce the

overall minority electorate in Precinct 3 and lead to the loss of the ability of

minority voters to elect a candidate of their choice. Id.

      178. These efforts to reduce majority-minority districts are significant

because research has shown that Blacks and Latinos are more likely to vote

if they live in majority-minority districts. PX-335 ¶ 25. Former Justice of the

Peace Penny Pope also observed that the results of the 2011, 2013, and 2021

redistricting processes created additional voting barriers for minority

residents who felt less motivated to vote and participate politically. Dkt. 222

at 27–28.

      179. On June 25, 2013, the Supreme Court held that § 4(b) of the

Voting Rights Act is unconstitutional and that the coverage formula “can no

longer be used as a basis for subjecting jurisdictions to preclearance.” Shelby

County, 570 U.S. at 557. Yet the Court’s ruling “in no way affect[ed] the

permanent, nationwide ban on racial discrimination in voting found in § 2.”

Id.


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     180. Galveston County adopted an electoral map for JP/constable

precincts two months later. Petteway v. Galveston County, No. 3:13-cv-308,

at 1 (S.D. Tex. Aug. 31, 2022). Before the change, the county had eight

precincts, two of which were majority-minority precincts. Id. After the 2013

plan, the county had four precincts, one of which was majority-minority. Id.

Six plaintiffs sued the county, alleging § 2 vote dilution and intentional

discrimination under the Fourteenth Amendment. Id. Following a three-day

bench trial, the court concluded that the plaintiffs failed to show vote

dilution, as the 2013 plan “increased the percentage of Galveston County

residents living in a majority-minority district” and therefore did not

diminish the voting power of minority voters. Id. The court also ruled in the

defendants’ favor on the intentional-discrimination claim. Id. at 2–3.

           Public Input and Transparency in Prior Redistricting
     181. During the 1981 redistricting cycle, County Judge Ray Holbrook

appointed a committee of about thirty citizens to make recommendations for

redrawing the county’s voting precincts. PX-412 at 24–25. This

recommendation would be a basis for “remapping” the commissioners-court

precincts. Id. at 24. The commissioners court ratified the public committee’s

work and adopted new commissioners-court precincts. Id. at 25. The 1981

commissioners precinct map reflected “minimal” change that only “[s]lightly



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increas[ed] the combined voting strength of the county’s Black and Latin[o]

residents,” “stopping short of creating a precinct [within] which the ‘total

minority’ vote would constitute a majority.” Id. at 26; see also Dkt. 225 at 76.

The Attorney General did not object to the county’s 1981 redistricting plan.

Dkt. 225 at 76.

      182. During the 1991 redistricting cycle, the commissioners court

adopted a set of criteria and a timeline before it held three public hearings

where numerous members of the public, including minorities, participated

in the process. Id. at 76–77; PX-412 at 32–34, 37, 67. The redistricting plan

reflected input from local NAACP and LULAC chapters and created a

majority-Black-and-Latino Precinct 3. PX-412 at 34; Dkt. 225 at 78. The

Attorney General did not file any objection to the county’s 1991 redistricting

plan. Dkt. 225 at 187.

      183. During the 2001 redistricting cycle, the commissioners court

adopted redistricting criteria, created a schedule of public hearings, and held

four public meetings across Galveston County. Id. at 78; PX-412 at 38–39,

67. Among the redistricting criteria the commissioners court adopted was

that “[c]ommunities of interest should be maintained in a single district” and

that the plan “should not fragment a geographically compact minority

community or pack minority voters in the presence of polarized voting so as


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to create liability under section 2 of the Voting Rights Act.” PX-539. The

Attorney General did not file any objection to the county’s 2001 redistricting

plan. Dkt. 204-6 ¶ 17.

      184. During the 2011 redistricting cycle, after consideration of several

proposals for redistricting counsel, the defendants hired James E. “Trey”

Trainor, III, Dale Oldham, and Joe Nixon of the law firm Beirne, Maynard &

Parsons, L.L.P., to serve as redistricting consultants. JX-45.

      185. The commissioners court did not adopt redistricting criteria in

the 2011 redistricting cycle. See PX-23. Judge Henry later became aware that

the Attorney General had objected to the 2011 commissioners map in part

because the commissioners court failed to adopt criteria. Dkt. 228 at 274.

      186. During the 2011 redistricting cycle, the commissioners court

adopted a redistricting timeline that accounted for the preclearance process

and the candidate-filing period. PX-412 at 44. This timeline included (1) an

initial hearing to present draft maps and explain the census results in

Galveston County and (2) five public hearings on redistricting in the

evenings throughout the county. See PXs-45 at 9; 531–535.

      187. The commissioners court adopted a redistricting plan in 2011

and submitted it to the Attorney General on October 14, 2011. JX-45. The

Attorney General filed an objection. JX-6. In his letter, the Attorney General


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highlighted: (1) the county’s decision not to adopt a set of criteria “to avoid

being held to a procedural or substantive standard of conduct”; (2) “the

deliberate exclusion from meaningful involvement in key deliberations of the

only member of the commissioners court elected from a minority ability-to-

elect precinct”; and (3) the retrogressive impact that the relocation of the

Bolivar Peninsula from Precinct 1 had on Precinct 3. Id.

      188. The plan after the 2011 redistricting process contained a

Precinct 3 in which Black and Latino residents constituted a majority of the

CVAP. This Precinct 3 was a continuation of a district that the commissioners

court created in the 1991 redistricting cycle that allowed Black and Latino

voters to elect a candidate of choice and which was maintained in the 2001

redistricting cycle. Over its decades of existence, this Precinct 3 has become

“a political home of historical significance” to Galveston County’s Black and

Latino communities. PX-412 at 64.

      G. The 2021 Redistricting Process
      189. The second Arlington Heights factor is the specific sequence of

events leading up to the challenged decision. Relatedly, the third and fourth

Arlington Heights factors address procedural and substantive departures

from the normal procedural sequence. This information also informs the

court’s totality-of-circumstances analysis for § 2 claims.



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           Sequence of Events
              April 2021—Engaging Redistricting Counsel
     190. Judge Henry had the county’s general counsel contact Oldham

in November 2020 to retain him as redistricting counsel. JX-11 at 2. Henry

understood that the commissioners court would have to complete the

process by sometime in November 2021 and specifically wanted Oldham

because of his prior redistricting experience in the county. Dkt. 228 at 181,

280–81, 283–84. Now a solo practitioner, Oldham required a law firm to

assist him in his work, and the commissioners court retained Holtzman

Vogel Baran Torchinsky & Josefiak PLLC for that purpose in April 2021.

Dkt. 231 at 28; PX-138.

     191. The commissioners court voted 4-1, with only Commissioner

Holmes voting against, to hire Oldham and Holtzman Vogel as redistricting

counsel. See generally PXs-140; 585 at 8. The commissioners court did not

publicly consider any other counsel. The commissioners court provided

neither information on the April 2021 meeting agenda nor accompanying

backup materials about whom the commissioners court was considering

hiring. See Dkt. 228 at 288.

     192. Shortly after engaging Oldham, Judge Henry and the county’s

general counsel, Paul Ready, contacted Oldham to ask whether the county

“had to draw a majority[-]minority district.” PX-144 at 1. Oldham responded

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that it “may or may not need to draw a majority[-]minority district

depending on census data.” Id.

              August 2021—Census Data Released
     193. The release of the 2020 Census data necessary for redistricting

was delayed due to the COVID-19 pandemic. The Census Bureau ultimately

released the data in the “legacy format” in August 2021 followed by a more

user-friendly format the following month. Dkt. 231 at 36; DX-175.

     194. In the spring or summer of 2021, Judge Henry became aware of

the census data’s expected release date and of its actual release in August.

Dkt. 228 at 290; see also PXs-568–569, 586.

     195. At the time of the census data’s initial release, Oldham lacked the

technical ability to parse through it, and the defendants had not yet hired a

demographer for the project. So Oldham contacted Adam Kincaid of the

National Republican Redistricting Trust to interpret the census data about

Galveston County. Dkt. 231 at 36–37, 68; PX-173 at 1.

     196. On September 14, Kincaid emailed Oldham a chart reflecting

each commissioners precinct’s racial demographic changes from 2010 to

2020. PX-173 at 1, 3. Oldham then removed the logo of the National

Republican Redistricting Trust from the document and sent it to Ready to

distribute to the commissioners. Dkt. 231 at 51, 52.



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      197. Oldham reviewed the racial data Kincaid had sent and concluded

that Galveston County’s Black population had remained concentrated in

Precinct 3; the Latino population, on the other hand, had grown throughout

the county. Id. at 131–34.

      198. Oldham was “pretty familiar” with “the population and

demographic location of that population in Galveston County.” Id. at 131. He

knew that the Black population was centered in Precinct 3 in the 2011 plan.

Id. at 133–34. Oldham reviewed racial-shading maps of Galveston County

after the census-data release to identify where Black populations were

concentrated. Id. at 134–36. Oldham’s understanding was generally

consistent with Judge Henry and Commissioners Apffel and Giusti’s

understanding that Galveston County’s Black and Latino population was

centered around Precinct 3, which had consistently elected Commissioner

Holmes. See, e.g., Dkts. 228 at 271–73; 232 at 148–49, 370.

      199. Oldham held a series of meetings in mid-September 2021 with

the commissioners and Judge Henry to determine their priorities for

redistricting. The first meeting on September 8 included both Judge Henry

and   Commissioner     Apffel,   followed   by   individual   sessions   with

Commissioners Giusti and Clark, and ending with a meeting with

Commissioner Holmes on September 20. Dkt. 231 at 38, 42–43, 45, 48.


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     200. In his meeting with Oldham and Commissioner Apffel, Judge

Henry told Oldham that he wanted a map like the one he conceived in 2011—

the configuration that ultimately became Map 2. Id. at 39–40, 150–52.

     201. Commissioner Apffel requested that a specific area be brought

into his precinct so that it included a new home he and his wife had bought.

Dkt. 228 at 189.

     202. Commissioner Giusti asked Oldham to “level out” the

commissioners precincts in population, “clean up” the lines, and keep his

parents’ home in his precinct. Giusti did not dispute Oldham’s recollection

that Giusti additionally requested his precinct lines not change more than

necessary. Dkt. 232 at 124–26.

     203. When Oldham first met with Commissioner Holmes on

September 20, he was frustrated that Commissioner Holmes could not list

his mapping priorities. Dkt. 231 at 49–51, 53. In the follow-up call on

September 23, Commissioner Holmes provided detailed instructions on

which areas he wanted to add to Precinct 3 to resolve population imbalances

and increase the district’s compactness. See Dkt. 228 at 68–72; JX-23 at 4.

              October 14—Hiring a Demographer
     204. Despite     Oldham     completing    the   meetings    with    the

commissioners and Judge Henry by September 23, no one contacted a



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demographer until October 14, when Holtzman Vogel asked Thomas Bryan

to start drafting maps. Dkt. 231 at 225. Bryan owns Bryan GeoDemo, a

company that provides redistricting map-drawing services. Id. at 216, 219–

20.

      205. On an October 15 call between Bryan and Phil Gordon of

Holtzman Vogel, Gordon instructed Bryan to create two plans: (1) a least-

change plan and (2) a plan that created four Republican precincts, later titled

a “Four R plan.” Id. at 227–28, 233, 289–90; see also PX-188.

      206. The purported motivation of Judge Henry—creating a “coastal

precinct”—never arose during the hour-long phone call between Gordon and

Bryan, and Bryan’s initial draft plans included no coastal precinct. Dkt. 231

at 290–91; PX-516.

      207. After that initial call, Bryan immediately understood that

Oldham, not Gordon, was the lead person from whom he should take

instructions about configuring plans. Dkt. 231 at 290. Bryan and Oldham

spoke by phone for the first time on October 17. Id. at 68–69; PX-196.

      208. The Four R plan was not the foundation upon which Bryan built

Map 2. Dkt. 231 at 291. Oldham never told Bryan that Judge Henry wanted

to create four Republican precincts, and Oldham denied any such partisan

objective. Id. at 153–54.


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              October 17—Bryan Creates Map 2
      209. On October 17, Bryan drafted two map proposals that he shared

via email with Oldham: (1) a “minimum change” plan that became Map 1,

and (2) an “optimal” plan with an entirely coastal precinct and three

mainland precincts—all of which fractured Precinct 3—that became Map 2.

See PX-197; Dkt. 231 at 145–50. Map 2 was “the visualization of the

instructions” Judge Henry had provided Oldham. Dkt. 231 at 181.

      210. Bryan did not exercise discretion in drawing Maps 1 or 2; Oldham

told him where to place the lines. Id. at 296. Oldham gave Bryan “very

specific instructions about how he wanted Map 2 to look,” and Bryan did not

know for what reason Oldham “was asking [him] to put [any] particular

territory in each of the commissioner[s] precincts in Map 2.” Id. at 291–93.

Bryan could not speak to what motivated the drawing of Map 2. Dkt. 232 at

29.

      211. Bryan testified credibly that he did not display or consult racial

data while working on the Galveston County maps. Id. at 33. But he also

credibly testified that he was “given no instruction one way or the other on

racial and ethnic information.” Id. at 19. The court credits Bryan—an

eminently believable witness—and not Oldham in this regard.




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      212. The first draft of Map 2 represents a dramatic change in the

commissioners-precinct lines, both on the coast and the mainland, in a way

that distributes the population of benchmark Precinct 3 among all four new

precincts       and   shifts   Commissioner     Holmes’s     precinct    north:




PX-197.
      213. Oldham admitted that it was possible to retain a majority-

minority precinct while also creating a coastal precinct without dismantling

benchmark Precinct 3. Dkt. 231 at 164, 167–68, 171.

      214. The court finds that a desire to create a coastal precinct cannot

and does not explain or justify why Map 2, the “optimal” plan, was drawn the

way it was—and especially does not explain its obliteration of benchmark

Precinct 3.11


      11The plaintiffs’ experts presented at least five illustrative plans that
included both a coastal precinct and a majority-minority Precinct 3. See PXs-386
¶¶ 87–90; 415–418.

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               Late October—Finalizing and Announcing the Maps
       215. After Bryan drew these maps, Oldham traveled to Galveston

County to meet with Judge Henry and the commissioners. Id. at 79–80.

Oldham met with Judge Henry on October 18, and Judge Henry told Oldham

he preferred Map 2 because it was “essentially his criteria.” Id. at 82–84; PX-

199.

       216. Commissioners Apffel, Giusti, and Clark initially told Oldham

that they preferred Map 1. Dkt. 231 at 190.

       217. Oldham knew Commissioner Holmes would be dissatisfied with

Map 2 because it dramatically reduced the minority population in Precinct

3, resulting in Precinct 3 having the lowest minority population percentage

of all four precincts. Id. at 177–78. Commissioner Holmes opposed Map 2

and insisted that Oldham inform the commissioners court that § 2 of the

Voting Rights Act required a majority-minority precinct. Id. at 101–02.

       218. Bryan also produced a spreadsheet for Maps 1 and 2. Id. at 268–

69. The spreadsheet included racial data about the plans. The first tab

included CVAP and voting-age population data by racial group for each

census block within Galveston County. PX-528. The second tab, titled “Pop

Pivot,” provided the Black and Latino voting-age population percentages for

each commissioners precinct in the benchmark plan, Map 1, and Map 2, as



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well as the two categories combined to identify the total majority-minority

percentage share for each precinct. Id.

      219. The court finds that the commissioners never expressly

considered this spreadsheet information.

      220. After Oldham’s initial meeting with Judge Henry, Oldham met

with the commissioners. Dkt. 228 at 202–03. He first met with Henry and

Commissioner Apffel to review the map proposals. Id. at 301; Dkt. 231 at 194.

Later, Henry also contacted Commissioner Giusti to ensure he was

comfortable with his new coastal precinct because it was a dramatic change

from his current precinct. Dkt. 228 at 305–06. Henry chose not to call

Holmes to do the same—to inquire whether he was comfortable with his new

precinct. Id. at 306.

      221. Ready set up a series of Zoom meetings between Oldham and

Bryan on the one hand, and Commissioners Giusti, Clark, and Apffel on the

other, to endeavor to accommodate the commissioners’ wishes. Dkt. 231 at

191–92. Oldham met with Commissioners Giusti and Clark simultaneously

to request and implement anything they wanted to see in Map 2. Id. at 191–

92. Judge Henry also recalled meeting with Commissioner Apffel that same

day. Dkt. 228 at 301; see also id. at 194–97.




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      222. Commissioner Holmes received a call from Constable Rose on

October 21. Rose relayed a conversation he had with Commissioner Apffel,

in which Apffel said, “There are a couple of maps floating out there, and it is

not looking good for Holmes.” Dkt. 228 at 81.

      223. On October 28, Judge Henry’s chief of staff, Tyler Drummond,

emailed Oldham asking about the status of the “final maps” and stating the

county “originally wanted to have a special meeting tomorrow to discuss and

possibly adopt” them. JX-27 at 1. The commissioners court was “awaiting the

final maps with split precincts so we can finalize everything and get a special

meeting together for next week.” Id.

      224. Bryan finalized the maps and provided them to the

commissioners court on October 29. Dkt. 231 at 118. The county publicly

posted the two proposals, Map 1 and Map 2, on the county’s website on

October 29. See JX-29.

      225. The web page provided an opportunity for public comment, but

there were no instructions on when those comments had to be submitted for

consideration. Id.; Dkt. 228 at 330.

      226. The only evidence of the commissioners court announcing the

creation of the redistricting web page or the release of proposed maps is a




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post on Judge Henry’s campaign Facebook page encouraging the public to

support Map 2, PX-588, which Commissioner Giusti reposted. PX-247.

      227. Based on Oldham’s assessment, Judge Henry believed that

Maps 1 and 2 were both legally compliant. Dkt. 228 at 332.

      228. Commissioner Apffel testified that he never witnessed anyone

instruct Oldham to use or consider racial data when designing potential

maps. Dkt. 232 at 310. Apffel also did not recall seeing, reviewing, evaluating,

or using racial demographics when considering maps. Id. at 311.

               November 12—The Enacted Plan
      229. On November 1, the Texas Secretary of State issued an election

advisory confirming that the state’s commissioners courts had to revise their

commissioners precincts by November 13. JX-34 at 2. Judge Henry had

mistakenly believed he had until December to complete the redistricting

process. Dkt. 228 at 281, 283. He provided no credible explanation for this

mistake.

      230. Commissioner Apffel called Commissioner Holmes a few days

before the November 12 special meeting. Id. at 86; JX-23 at 8. Apffel had

known Holmes since 1989 and considered him a friend. Dkt. 232 at 318–19.

Commissioner Holmes and Commissioner Apffel differ on their recollections

of how this conversation proceeded. Dkts. 228 at 82–86; 232 at 326 –32. The



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court credits Commissioner Holmes’s recollection more than Commissioner

Apffel’s and finds that Apffel informed Holmes that the commissioners court

would be adopting Map 2. Holmes also told Apffel that Map 2 was

discriminatory and ran afoul of § 2. Dkt. 228 at 82. Apffel explained that

Oldham told him Map 2 was a “legal map” and that he had concerns about

what Harris County was doing to the Republican members of its

commissioners court through redistricting. Id. at 82–83. Holmes responded

that “it was not about . . . Republican or Democrat but about the protections

guaranteed to the minority groups in the Voting Rights Act.” Id. at 83. Apffel

ultimately told Holmes that Judge Henry planned to make a motion to adopt

Map 2, that he would second the motion, and that the commissioners court

would vote for Map 2. Id. at 86.

      231. The commissioners court held a special meeting on November 12

to consider and vote for a new commissioners-court map. PX-591. Thirty-six

members of the public spoke at the meeting—a fraction of those who actually

attended—criticizing the redistricting process and the two map proposals.

JX-41 at 2–3. Commissioner Holmes then spoke, noting the procedural

irregularities in the 2021 redistricting cycle and opposing both map

proposals. He offered two alternative maps that preserved Precinct 3 as a

majority-minority precinct. The other commissioners refused to consider or


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vote on Commissioner Holmes’s proposals. On a 3-1 vote, 12 with only

Commissioner Holmes voting against, the commissioners court adopted

Map 2, or the “enacted plan.” Id. at 3.

            Deviations from Prior Redistricting Cycles
      232. Drs. Burch and Krochmal surveyed the 2021 redistricting process

and found several procedural anomalies as compared to previous

redistricting cycles. These procedural departures included the: (1) failure to

adopt a timeline, (2) failure to adopt any publicly available redistricting

criteria to guide the process, (3) lack of transparency in engaging

redistricting counsel, (4) lack of public notice and availability for comment,

(5) conduct surrounding the November 12 special meeting, (6) disregard for

minority input, and (7) exclusion of Commissioner Holmes from the process.

The court credits these findings as evidence of departures from the typical

procedural sequence. The record evidence and lay testimony adduced at trial

substantiate these procedural deviations.

      233. The Attorney General’s 2012 objection letter noted several

procedural deficiencies in the 2011 redistricting process that raised concerns

of intentional discrimination. JX-6 at 2. These deficiencies included the


      12 Commissioner Ken Clark did not attend the meeting due to health issues.

He passed away in 2022 and was succeeded on the commissioners court by
Commissioner Robin Armstrong.

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failure to adopt redistricting criteria and the deliberate exclusion of

Commissioner Holmes. Id. The 2012 objection letter put Judge Henry on

notice of procedural defects that could raise concerns about the exclusion of

minority stakeholders and lack of transparency—lapses that could be viewed

as evidence of intentional discrimination.

     234. During the 2021 redistricting process directed by Judge Henry,

the county repeated these same procedural lapses. See generally Dkt. 222 at

122–24; PX-414 at 11, 18–19. The only alternative plan offered by Oldham

during the 2021 redistricting cycle, Map 1, closely resembled the 2011 map,

to which the Attorney General had objected. Compare JX-45 at 22, with JX-

29. Oldham testified that the elimination of preclearance facilitated the

dismantling of the majority-minority precinct. Dkt. 231 at 59–60.

              No Redistricting Timeline
     235. In contrast to past redistricting cycles, there is no evidence of any

redistricting timeline established by the commissioners court in 2021.

     236. The defendants have failed to provide any credible explanation

for the lack of a redistricting timeline. Judge Henry, who was principally

responsible for the redistricting process, testified that he was always aware

Galveston County would need to redraw the commissioners precincts and

that he was aware this would need to be completed by the candidate-filing



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date. Dkt. 228 at 280–81. But Henry had no explanation for the

commissioners court’s failure to set a timeline publicly, or even privately, for

redistricting. See id. at 295–97.

               No Redistricting Criteria
      237. Unlike in prior years, the commissioners court failed to adopt

any public redistricting criteria in 2021. Dr. Burch testified that the absence

of public redistricting criteria is notable because “redistricting criteria tend

to guide the process and give people a sense of what the priorities are, and

the [c]ounty saw fit to adopt them in previous years.” Dkt. 222 at 192–93.

      238. Judge Henry knew that the commissioners court’s failure to

adopt criteria in 2011 provided a basis for the Attorney General’s objection

to the 2011 map. Dkt. 228 at 274. He admitted that there was no way for

anyone to know the commissioners court’s preferences and propose

alternative maps that would meet them. Id. at 310–11. The defendants have

failed to provide any explanation for deciding not to publicly adopt

redistricting criteria in 2021.

      239. Overall, the commissioners court’s failure to adopt redistricting

criteria in 2021 is a deviation because the commissioners court had adopted

criteria in prior years and other counties across the state have regularly

adopted redistricting criteria. Dkt. 222 at 137–38.



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                 Lack of Transparency in Engaging Counsel
         240. The commissioners court deviated from past practice in engaging

redistricting counsel. In prior cycles, the court publicly entertained bids from

several prospective counsel. PXs-412 at 43; 414 at 17.

         241. Judge Henry sought Oldham due to his “success” for the county

the prior cycle. Dkt. 228 at 283–84. No other law firms besides Oldham’s

personal choice, Holtzman Vogel, were publicly considered during the

process. Id. at 286.

         242. During the April 2021 commissioners court meeting in which

they voted to hire Oldham and Holtzman Vogel, the commissioners court

failed to provide any advance notice in the meeting agenda that they would

be hiring counsel. PXs-570 at 239–41; 585 at 2. The defendants have not

offered any explanation for this lack of transparency.

                 Lack of Public Notice and Comment
         243. Failure to disclose the data underlying the commissioners court’s

decision-making. At no point in the process did the commissioners court

publicly disclose any quantitative data about the benchmark plan or

proposed commissioners-court maps.

         244. In 2011, before adopting a map, the commissioners court held

public meetings after the census data came out. Dkt. 231 at 34–35; PX-414

at 17.

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     245. Judge Henry acknowledged that the commissioners court could

have publicly announced the census results for Galveston County, Dkt. 228

at 291, as it had at a meeting in August 2011 in which “the [c]ounty’s

redistricting consultants presented a preliminary demographic report

showing the results of the 2010 Census as they related to the existing

commissioner[s] precincts,” JX-45 at 9. Indeed, Judge Henry admitted to

receiving a similar report from Oldham in September, including detailed

information about why the commissioners-court lines needed to change.

Dkt. 228 at 293–94.

     246. When the commissioners court posted proposed Maps 1 and 2 on

October 29, it provided no quantitative data by which the public could assess

the maps. See generally JX-29.

     247. The failure to make quantitative data available “speaks to the lack

of transparency,” as “the public wasn’t able to see underlying population and

demographic data to fully understand exactly how these maps were

changing.” Dkt. 222 at 138.

     248. Rushed redistricting process that prevented meaningful public

comment. The commissioners court rushed the redistricting process in 2021

and failed to include any meaningful participation from the public and

Commissioner Holmes. Id. at 126–27; PX-414 at 17–21; Dkt. 225 at 92–94.


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      249. The COVID-19 pandemic caused delays in the release of the data

required to redistrict. Dkt. 222 at 127–28; PX-414 at 13–14; DX-175 at 2–3.

Still, this delay does not account for the failure to include meaningful public

participation or the rushed process.

      250. Demographers for the parties agree that it was feasible to create

timely redistricting plans despite the COVID-19 delay. Cooper testified that

he had the 2020 Census data available “within a couple of days” of its release

and thus had a “nationwide dataset breaking out the block-level census data

for the whole country” around August 15. Dkt. 223 at 16. According to

Cooper, this timing would be typical for anyone using standard demographic

software such as Maptitude. Id. at 17. Fairfax likewise testified that “anybody

with GIS skills” could access and use the 2020 Census data in the format

provided by the Census Bureau on August 12. Dkt. 224 at 78–79. Fairfax also

testified that the Census Bureau provided a database that could have been

used to review the 2020 Census data released in August 2021. Id. at 79.

      251. Bryan testified that he would have been able to download the

Census Bureau’s redistricting data immediately once it was released.

Dkt. 231 at 297–99. Had the defendants retained him earlier, he could have

prepared draft maps by the end of August. Id. at 298–99. The defendants




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offer no credible explanation for why the commissioners court did not begin

drawing proposed maps until mid-October 2021.

      252. Bryan testified to a rushed process in which he was made to draw

maps on a flight back from a vacation in Hawaii and given only a few days to

complete the project. Id. at 236, 298; Dkt. 232 at 36. It is Bryan’s practice to

visit a jurisdiction and study it before drawing a map for it. Dkt. 232 at 35.

Bryan testified that his inability to research or visit Galveston County and the

tight timeline he was given was unusual for his work. Id. at 35–36.

      253. The commissioners court was aware that redistricting likely

needed to occur no later than November 2021 due to the timing of the

candidate-filing period. Judge Henry testified that he fully expected the

county to need to redraw commissioners precincts even before the

redistricting data came out, and that this redistricting would have to be

completed before the candidate-filing period opened. Dkt. 228 at 280–81.

      254. Commissioner Giusti also testified that he “was pretty sure” the

candidate-filing period would be from November to mid-December in 2021

because there “was a lot of resistance to [the state] moving the election

dates.” Dkt. 232 at 106.

      255. The commissioners court held several public meetings between

retaining redistricting counsel and the November 12 special meeting


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adopting the enacted map. PX-129. However, none discussed redistricting.

Id.

      256. Decision to Hold Special Meeting on November 12. In past

redistricting cycles, the commissioners court held several hearings at various

locations around the county to solicit public input on map proposals,

including seven public hearings during the 2011 redistricting cycle. In 2021,

Oldham advised the commissioners court to hold as many public meetings

as possible and allow for supplementation of feedback after the meetings.

Dkt. 231 at 201.

      257. Judge Henry agreed the county had received initial map

“proposals” by October 19 but did not want anything publicly disclosed until

they were a “final product.” Dkt. 228 at 310.

      258. Even factoring in the COVID-19 pandemic, Dr. Burch opined that

the dearth of public meetings in 2021 was unusual. Dkt. 222 at 191, 196. In

both 2011 and 2021, there were two weeks between when the commissioners

court first disclosed its proposed maps and when it actually enacted a map.

Id. at 191. In the two weeks before it adopted the benchmark plan in 2011,

the commissioners court held five meetings across the county. Id. In the

same amount of time in 2021, it only held one. Id.




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      259. The only opportunities for public input in 2021 were an online

public comment portal and the November 12 special meeting. JX-42.

      260. Commissioner Holmes testified that he expressed concerns to

Drummond that the online comment portal was inadequate to provide

residents the opportunity to be heard because of the number of residents who

lacked access to either the internet or a computer. Dkt. 228 at 135; JX-23 at

5; see also Dkt. 222 at 194 (noting the racial disparities in internet access).

               The November 12 Special Meeting
      261. The November 12 special meeting was unusual not only for its

singularity during the redistricting cycle but also for its lack of accessibility

for many of Galveston County’s Black and Latino residents.

      262. In past redistricting cycles, residents could choose among

multiple meeting locations so that they could attend the most geographically

accessible site. PX-412 at 60; Dkt. 225 at 75–82. Compounded with last-

minute notice for the only meeting held about the maps, this factor “denied

the public the opportunity to provide meaningful feedback on the maps.”

PX-414 at 19; see also Dkt. 226 at 211–12.

      263. The commissioners court held the November 12 special meeting

at the League City Annex on Calder Road. PX-412 at 55–60. League City is




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twenty-seven miles from the city of Galveston, the county seat and where the

commissioners court holds its regular meetings.

      264. The first meeting of the commissioners court at the League City

Annex was in 2013. Dkt. 225 at 89–90. The custom of sometimes meeting

away from the county courthouse, at locations termed “auxiliary courts,” was

initially conceived to occur only “in the event the County of Galveston

becomes precluded from conducting business or judicial functions within the

county seat due to meteorological or catastrophic events.” PX-412 at 56. But

meeting away from the county courthouse soon became more common. Even

so, meetings at the League City Annex generally pertained to non-

controversial routine business, such as payroll approvals. Id. at 56–57.

Serious, non-run-of-the-mill county business continued to be conducted at

the county courthouse in the county seat.

      265. But in recent years, it became more common for topics involving

race to be taken up at the League City Annex. Examples include: (1) an

August 24, 2020 meeting on the removal of a Confederate statue; (2) a July

2, 2021 meeting when the commissioners court extended an immigration–

related disaster declaration; and (3) the November 12 meeting on

redistricting. Id. at 55–56.




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      266. The League City Annex is not spacious and will not accommodate

as many people as the county courthouse. Lay testimony and video evidence

of the November 12 special meeting indicate that by holding the meeting at

the League City Annex, the commissioners court failed to provide the

adequate space needed to accommodate the number of persons who sought

to attend.

      267. The small size of the League City Annex and the foreseeably large

crowd caused congestion and overcrowding. Constable Rose testified that the

League City Annex “was under construction . . . . The parking was terrible.

It’s just not the place that you want to hold a meeting of that magnitude.”

Dkt. 221 at 75. Additionally, Constable Rose observed that “people were

standing all along the walls in the hallways . . . . You have got people [in]

wheelchairs, walkers, everything there, and the accommodation was very

poor.” Id.; see also Dkts. 221 at 134–41; 226 at 132–35, 226–27.

      268. The defendants have not provided any credible explanation for

their failure to hold the special meeting in a space that would accommodate

the foreseeably sizable crowd. Judge Henry was responsible for scheduling

the time and place of the November 12 meeting. Dkt. 228 at 257. Henry

testified that after posting the draft maps on October 29, the commissioners

court received “more comments . . . than [on] anything else we have ever


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posted” and “received more comments and feedback than [on] any other

thing we had done.” Id. at 213, 220–21. The commissioners court was well

aware of how sensitive the issue was, and how interested the public was in

how it would be dealt with.

                Disregard for Public Input from Minority Residents
      269. Conduct by Judge Henry and the county commissioners

indicated a disregard for public input from the minority communities and

those critical of the enacted plan’s discriminatory effect.

      270. Judge Henry admitted that he reviewed fewer than a dozen of the

public comments. Dkt. 228 at 221, 330. Instead, he had his staff provide a

breakdown of comments, which he then announced during the November 12

special meeting before making the motion to adopt Map 2:

      Of the 440 [comments] that came in, 168 did not discuss a
      particular map, they just called me names mostly. Of the people
      who did choose a map preference, Map 1 – received 64 responses.
      Map 2 received 208 responses. So of those responding to a
      particular map, 76.4[%], Map 2. 23.5[%], Map 1. With that, I’m
      going to make the motion to approve Map 2.

PX-591 at 62.

      271. A detailed look at the public comments, JX-42, indicates that

Henry’s summary during the November 12 meeting disregards public

commentary expressing concern over the discriminatory impact of

redistricting on Galveston County’s minority community. Dr. Burch analyzed


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all 446 public comments that were submitted. Dkt. 222 at 145–46; PX-414 at

23. She found that Judge Henry “dismissed as devoid of meaningful content

nearly every comment that did not support the maps and that expressed

concerns about racial discrimination and minority[-]vote dilution.” PX-414

at 23.

         272. The county residents who appeared at the meeting on November

12 were predominantly Black and Latino and included many older residents.

PX-412 at 60; PX-129.

         273. When attendees informed the commissioners court that they

could not hear the proceedings, Judge Henry reacted by threatening to have

constables remove attendees:

         I’m going to speak at this tone. That’s all I can do. I’m not going
         to scream. I don’t have a microphone. . . . I will clear you out. If
         you make a noise, I will clear you out of here. I’ve got constables
         here.

PX-591 at 3.

         274. Witnesses testified that Judge Henry was “real ugly about

clearing the room.” Dkt. 221 at 77, 138–40. Commissioner Giusti believed his

conduct was “aggressive.” Dkt. 232 at 150–51.

         275. Thirty-five of the thirty-six members of the public who spoke at

that meeting opposed Map 2. See generally PX-591 at 4–57. The remaining

comments noted the inconvenience of the meeting and the lack of public

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transparency in the process. See id. Commissioner Giusti acknowledged that

only Commissioner Holmes attempted to respond to the audience’s

concerns. Dkt. 232 at 148–49.

     276. The commissioners court adopted the enacted plan without

addressing any public comments received at the meeting. They did not

publicly debate the map proposals beyond Judge Henry’s discussion of the

online public commentary and Commissioner Holmes’s remarks. PX-591 at

61–81.

              Excluding Commissioner Holmes
     277. The court finds that the 2021 redistricting process exhibited an

exclusion of Commissioner Holmes. He was the only minority commissioner

at the time. His district—Precinct 3—was dramatically reshaped under the

enacted plan, and there was otherwise a lack of opportunity for minority

voters to participate. Commissioner Holmes testified to this exclusion: he

was not notified when the maps were finalized, was not told why additional

public meetings were not held, and was never sent the data underlying the

map proposals as he requested. Dkt. 228 at 103, 111–12.

     278. Because of his experience in the 2011 redistricting cycle,

Commissioner Holmes took contemporaneous notes of his conversations

concerning the 2021 redistricting. Id. at 61–62; JX-23. Commissioner



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Holmes requested specific changes to balance Precinct 3’s population and to

make the precinct lines more understandable to voters. Id. at 68–72; JX-23

at 3. Some of those changes were not reflected in any map proposal,

including Map 1. Compare Dkt. 231 at 75–77 (Oldham testifying the

“minimum       change”   map   proposal     was   drafted   to   accommodate

Commissioner Holmes but also to include predominantly Anglo Bolivar

Peninsula in Precinct 3), with JX-23 at 3 (list of changes requested by

Commissioner Holmes, including the addition of voting Precinct 142 to

Precinct 3), and Dkt. 223 at 52–53 (confirming no portion of voting Precinct

142 was added to Precinct 3 in Map 1 even though it is roughly equal in

population to the Bolivar Peninsula voting precincts that were added and

would have been possible according to one-person, one-vote standards).

           Purported and Actual Redistricting Criteria
     279. One of the additional factors noted in the Senate Judiciary

Report is whether the policy underlying the political subdivision’s conduct

was tenuous.

     280. The defendants have disclaimed any consideration of race. They

instead assert that they used seven factors in drafting and adopting the

enacted plan, as described in their interrogatory responses:

     (1) compliance with federal law,
     (2) the creation of a coastal precinct,

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      (3) geographic compactness,
      (4) minimizing voting precinct splits,
      (5) incumbency protection,
      (6) partisanship, and
      (7) “adopt[ing] a map that would be clear and easy to understand
      by the public.”
PX-593 at 6–8. The rationales stated by members of the commissioners

court in public, in deposition testimony, and at trial are inconsistent with

these purported criteria.

      281. No witness testified at trial to applying the criteria described in

the defendants’ interrogatory responses in either drawing or adopting the

enacted plan. See generally Dkts. 228 at 312–25; 232 at 88 (Giusti testifying

he considered the inclusion of his and his parents’ residence in his precinct,

population equalization, and that lines were “drawn in a way the people

understood” during the 2021 redistricting process), 304–05, 307–08 (Apffel

testifying that he had no requests other than “equalized population” and

keeping his new home in his precinct). Judge Henry admitted that he did not

know of or apply the criteria the commissioners court claimed in its

interrogatory responses to have used in the redistricting process. Dkt. 228 at

323–24.




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      282. Notably, unlike the criteria used in the 2001 redistricting cycle,

the criteria the county revealed in its interrogatory responses do not include

such objectives as maintaining communities of interest, preventing the

unnecessary fragmentation of minority populations, or adhering to historic

boundaries. See PX-539. From 1981 until 2021, the commissioners court had

at least one precinct that performed to elect the candidate of choice for Black

and Latino voters; the criteria the county purports to have used in 2021

would have done little to preserve that longstanding, and long-performing,

majority-minority precinct.

      283. The        plaintiffs   have     provided   several   illustrative   map

configurations that perform as well or better than the enacted plan under the

disclosed criteria.

      284. Cooper reviewed the criteria provided by the defendants and

evaluated whether the enacted plan adhered to them. In his opinion, it did

not. PX-386 at 23–26. As to the first factor—compliance with the

Constitution and the Voting Rights Act—Oldham disclaimed any

requirement to draw a precinct that conformed with § 2 of the Voting Rights

Act. Dkt. 231 at 61–62. Commissioner Apffel knew of Commissioner

Holmes’s concerns about the potential Voting Rights Act violation. Dkt. 232

at 329–30.


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       285. Dr. Rush presented alternative maps that comply with federal

law and maintain Precinct 3 as a majority-minority precinct. PX-487 at 9–

17. Cooper explained that there “are many, many different ways to draw a

majority Black plus Latino precinct. You can make [a] few changes. You can

make lots of changes. It can look a lot of different ways.” Dkt. 223 at 47.

Similarly, Fairfax testified that “there are possibilities of different

configurations [of illustrative maps that] still continue to create a majority

Black and Latino district that satisfied the first precondition of Gingles and

followed traditional redistricting criteria.” Dkt. 224 at 117.

       286. As to the second and third criteria—creating a coastal precinct

and geographical compactness—the plaintiffs have provided multiple

illustrative maps that would create a compact coastal precinct while

maintaining a majority-minority Precinct 3. Creating a coastal precinct is not

mutually exclusive with preserving Precinct 3 as a majority-minority district

that allows Black and Latino voters to elect a candidate of choice. Dkt. 222 at

131.

       287. Nor does the evidence support the need or any popular support

for a single coastal precinct. Before the map’s passage, “there weren’t a bunch

of people clamoring for a coastal precinct.” Id. at 105–06; Dkt. 225 at 85. The

documents that Dr. Krochmal examined had just one mention in a news


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article from the early 2010s. Dkt. 225 at 84–85. The commissioners did not

engage the public on the need for a coastal precinct. See, e.g., Dkts. 228

at 315, 317; 232 at 142–43. Some even advocated against a single-coastal

precinct. Dkts. 228 at 315–17; 232 at 350–52.

     288. As to the fourth and fifth criteria—to minimize the splitting of

voting precincts before including incumbent residences—the defendants

generally followed these criteria when drafting the enacted plan. But the

alternative maps created by Dr. Rush protect the incumbency of the current

commissioners while also preserving a majority-minority precinct. See, e.g.,

Dkt. 232 at 157–58.

     289. The sixth criterion—partisanship—did not require the enacted

plan’s configuration, as all members of the commissioners court who voted

for the enacted plan disclaimed partisanship as a predominating

consideration. See Dkts. 228 at 197, 304; 232 at 98, 355–56. Consistent with

this, Oldham testified that he never told Bryan that Judge Henry’s purpose

for Map 2 was to create four Republican districts, and Oldham denied there

was any such partisan motivation. Dkt. 231 at 153–54.

     290. As for the final criterion, that the map be “clear and easy to

understand by the public,” Cooper observed that the dramatic changes in the

enacted plan do the opposite. “[B]ecause entire [voting] precincts are going


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to be shifted around into different districts,” the likelihood of voter

confusion—such as voters not knowing in which commissioner’s precinct

they reside—is high. Dkt. 223 at 85–88.

      291. Any contention that the defendants adopted the enacted plan to

achieve near-equal population deviation is unsupported by the record. See,

e.g., PX-191. Indeed, there is no requirement to achieve a zero deviation for

the commissioners-court map. Dkt. 223 at 186.

      292. Judge Henry admitted he viewed benchmark Precinct 3 as a

racial gerrymander and that any majority-minority Precinct 3 would have to

look that way. Dkt. 228 at 319. Commissioner Apffel similarly testified that

he believed and “ha[d] been told” that Precinct 3 had been “racially

gerrymandered in favor of minorities.” Dkt. 232 at 356. Judge Henry further

admitted he “would not have asked for” a coastal precinct map that kept the

core of benchmark Precinct 3. Dkt. 228 at 305.

      H. Ongoing Discrimination Touching on Participation in
         Voting
      293. Three critical Senate factors in this case are: (1) the extent to

which minority-group members bear the effects of discrimination in areas

such as education, employment, and health, which hinder their ability to

participate effectively in the political process; (2) the use of overt or subtle




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racial appeals in political campaigns; and (3) the extent to which members

of the minority group have been elected to public office in the jurisdiction.

      294. The 2021 redistricting process for commissioners precincts

occurred within a climate of ongoing discrimination affecting Black and

Latino voting participation. This climate has led to limited Black and Latino

electoral success in Galveston County. Notably, the limited success of Black

and Latino candidates for office is largely attributable to majority-minority

districts like the one dismantled by the enacted plan.

      295. Dr. Burch’s and Dr. Rocha’s qualitative and quantitative analyses

show that Black and Latino residents of Galveston County bear the effects of

discrimination in income, poverty, education, and health, all of which

combine to increase the costs of voting and decrease political participation.

PXs-335 ¶¶ 66–71; 414 at 23–32. The defendants did not call any fact

witnesses to rebut these disparities between the minority and Anglo

populations in Galveston County.

      296. Historical    disparities   contribute    to   the   contemporary

inequalities that persist, not least because there are Galveston County voters

alive today who lived through the Jim Crow era. Dkt. 222 at 74. For example,

Pope testified to living through desegregation in education and public

accommodations and the difficulties the county faced during that time. Id. at


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28–31. Similarly, Reverend Randall described “racial fights” that occurred

“in the junior high and high school [that] spilled over into the community”

as he grew up during school desegregation. Dkt. 226 at 218.

      297. Testimony from Black and Latino residents confirms that the

county’s Black and Latino voters still suffer similarly from discrimination in

income, poverty, education, and health as compared to Anglo residents.

Dkts. 221 at 65, 133; 226 at 14.

      298. Discrimination against minorities in Galveston County harms

their ability to participate equally in the electoral process. PX-335 ¶¶ 9, 18,

27. Racial and ethnic disparities in education, income, housing, and public

health are partly the result of past and present discrimination. Peer-reviewed

academic research confirms that such disparities hinder Latinos and Blacks

from participating in the political process. Id. ¶¶ 18, 27, 66–67.

      299. Black and Latino voters, as measured by their consistently lower

turnout rate than Anglo voters in Galveston County elections, have a

depressed level of political participation. Dkt. 230 at 157.

            Contemporary Voting Barriers
      300. Residents testified how voter-identification requirements and

voter-roll purging weigh more heavily on Black and Latino voters and




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constitute barriers to voting. Dkts. 222 at 226–28; 226 at 18; see also PX-414

at 11 (describing Texas passing stricter voter ID laws after Shelby County).

     301. Closure of polling places has also made it more difficult for the

county’s Black and Latino residents to vote. The number of polling places in

predominantly minority neighborhoods has decreased in recent decades.

Dkt. 221 at 86–87.

     302. The decline in polling places is partially attributable to the

adoption of voting centers—locations where any voter can vote, regardless of

the voter precinct in which he or she resides. But the convenience these

centers provide is undercut by the fact that Galveston County has not

established the mandatory minimum number of vote centers required under

Texas law. Before the November 2022 general election, civil-rights

organizations sent a letter to the Galveston County clerk and commissioners

court informing them that the county had opened only twenty-eight voting

centers, rather than the minimum required forty-one. PX-315. The letter

described the disproportionate impact reduced polling places would have on

minority residents with less access to transportation. Id. The county had also

been warned in 2019 of this issue. Id.

      303. Black and Latino residents have reported greater difficulty

getting to polling places due to difficulties obtaining transportation.


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Dkts. 226 at 58, 209; 228 at 43−44. Studies have shown that polling-place

distance affects voter turnout, and those effects are related to transportation

availability. PX-414 at 28.

      304. The county has recently closed or attempted to close specific

polling places in predominantly Black and Latino neighborhoods. The

historic Carver Park polling place was considered by many to be the “hub” of

the benchmark Precinct 3. Dkt. 221 at 61−62. It was closed in 2020, leaving

some people unable to vote because of a lack of transportation. Dkt. 222 at

278. Similarly, another polling place closed during the 2020 election, the

Dickinson Senior Center, which was also predominantly used by Black and

Latino voters. Dkt. 228 at 44. The county also attempted to eliminate the

Alamo Elementary polling location, which is located in a heavily Latino

neighborhood. Dkt. 226 at 69.

      305. Primary elections for commissioners court seats have a majority-

vote requirement. Tex. Elec. Code § 172.003.

      306. In recent years, candidates running for office in Galveston

County have made implicit racial appeals in their campaigns. PX-335 ¶¶ 72–

81; Dkt. 222 at 89. Racial appeals can “make racial attitudes and concerns

more salient in the minds of voters, even without explicitly mentioning or




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referring to a particular race or group.” PX-414 at 33; see also PX-335 ¶¶ 76–

77; Dkt. 225 at 237–38.

     307. For example, in the 2020 Republican primary for Galveston

County tax assessor-collector, candidate Jackie Peden sent a mailer of a

“Latino man covered in tattoos that indicates association with a violent gang

(in this case, MS-13).” PXs-335 ¶ 78; 561; Dkts. 222 at 90–91; 225 at 240–

41; Dkt. 226 at 17. Referring to her incumbent opponent, Peden’s mailer

stated, “Texans can thank Cheryl Johnson for having illegal immigrants vote

in this November’s Election!” PX-561. The mailer “use[d] text to associate

her opposing candidate . . . with ‘illegal immigrants’ and appeals to race-

based biases and fears regarding Latinos.” PX-335 ¶ 78. The image of the

tattooed man featured is not a Galveston County resident but an El

Salvadoran man whose image has been featured in other political campaigns.

Id. ¶ 79; PX-562; Dkt. 225 at 241. Other candidates in Galveston County have

used anti-immigrant imagery and “invasion” language as an anti-minority

appeal. PX-414 at 34.

     308. In 2022, Julie Pickren, a candidate for District 7 of the Texas

State Board of Education, shared a video showing Black students at a local

high school vandalizing the school cafeteria. PX-335 ¶ 80. The video was

accompanied by text stating, “Discipline in schools must be restored.” Id. As


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an implicit racial appeal, the video contains images of Black youth engaged

in a stereotype-confirming behavior: violent destruction of property. Id.

      309. Other racial incidents surrounding campaigns have occurred in

recent years. In 2019, the chairwoman of the Galveston County Republican

Party referred to a particular Black Republican as a “typical nig.” Dkt. 222 at

89–90; PX-414 at 34. Residents also heard racially derogatory language used

toward Barack Obama during his presidential campaigns. Dkt. 226 at 17.

            Lack of Electoral Success
      310. Minorities have been underrepresented in electoral success

relative to their share of Galveston County’s population. PX-414 at 34. Until

the 1992 consent decree that increased minority representation in the

JP/constable precincts, few minorities were elected to county office.

Dkt. 222 at 15−16.

      311. There have been three Black members of the commissioners

court: Wayne Johnson, Stephen Holmes, and Robin Armstrong. Dkt. 204-6

¶¶ 14–16. Wayne Johnson was the first Black member of the commissioners

court and was elected in 1988. Id. ¶ 15. Stephen Holmes was appointed in

1999 after Wayne Johnson’s passing and has served continuously since then.

Id. ¶ 16. Robin Armstrong was initially appointed in 2022 and ran

unopposed in a majority-Anglo precinct in the November 2022 general



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election. Dkt. 230 at 195, 198, 211. There has been just one Latino member

of the commissioners court, Frank Carmona, who served from 1971 to 1990.

PX-335 ¶ 7.

      312. The court heard testimony that Commissioner Armstrong holds

“several [political] views that are outside the mainstream of Black

Americans.” PX-414 at 34–35. NAACP, LULAC, and other minority groups

did not endorse him. Id. at 35. Commissioner Armstrong acknowledged he

does not have a basis to believe he is a candidate of choice for Black or Latino

voters. Dkt. 230 at 210.

      313. Commissioners Giusti and Apffel could not identify any minority

candidates who successfully ran in a countywide Republican primary.

Dkts. 232 at 153, 367. Latino candidates with Spanish surnames have had

minimal success in the county’s Republican primaries. Dkt. 226 at 15−17.

      314. The limited number of successful Black and Latino elected

officials within the county have tended to be members of city councils elected

from majority-minority districts in cities with larger minority populations,

such as Texas City and La Marque, or—in the case of the city of Galveston—

elected from single-member districts created by court order to be majority-

minority. See, e.g., Dkts. 222 at 16; 230 at 255–56; 232 at 151.




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            Responsiveness
      315. In § 2 vote-dilution claims, courts must consider “whether there

is a significant lack of responsiveness by elected officials to the minority

group members’ particularized needs.” Patino v. City of Pasadena, 230

F. Supp. 3d 667, 715–16 (S.D. Tex. 2017). Lack of responsiveness to public

policies important to minorities serves to create and maintain racial

disparities. PX-414 at 35.

      316. Anglo commissioners are evidently not actively engaged in

specific outreach to Galveston County’s minority residents. Dkt. 222 at 98–

99; PX-414 at 35–36. Commissioner Apffel could not identify any wants,

needs, or desires that African American and Latino constituents have.

Dkt. 232 at 369. Judge Henry testified that he has never received an

endorsement from leaders in the Black or Latino communities. Dkt. 228 at

254−55.

      317. Minority residents have indicated that the commissioners court

has become less responsive to the needs of minority constituents since the

enacted plan went into effect. One resident testified that the lack of

responsiveness makes minorities “not want to participate” in the political life

of the county. Dkt. 222 at 28.




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      318. Recent votes by the commissioners court have been seen as

unresponsive to the Black and Latino communities. Numerous witnesses

cited the commissioners court’s vote to allow $1.8 million to help pay for a

U.S.–Mexico border wall and to send constables to the border as racially

discriminatory and diverting much-needed resources from local Black and

Latino residents. Id. at 103; Dkt. 226 at 19−20. In addition, Anglo

commissioners opposed removing the Confederate statue in front of the

county courthouse. PX-412 at 50.

      319. The commissioners court’s handling of the November 12 special

meeting also portrayed a lack of responsiveness. Witnesses who attended the

special meeting were taken aback by some of Judge Henry’s comments.

Dkts. 221 at 77; 226 at 137. They testified that his disinterested demeanor to

public comments also suggested a lack of responsiveness. Dkts. 222 at 246;

226 at 133−34. Galveston City Councilwoman Lewis described it as “almost

like a back-in-the-’60s environment.” Dkt. 226 at 134.

      320. Many residents reported that only Commissioner Holmes is

responsive to Black and Latino residents’ needs. See, e.g., Dkts. 221 at 93;

222 at 26−27, 235–36; 226 at 73−74, 192, 221 (“I don’t know any important

event that Stephen wasn’t there and giving us what we needed.”).




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      321. Commissioner Holmes was instrumental in reopening the

Wayne Johnson Senior Center after Hurricane Ike. Dkt. 226 at 221 (“Even as

far as Ike, Harvey, even Katrina. He led most of those efforts with housing

and getting us back on our feet during tough times . . . .”).

      322. During the COVID-19 pandemic, Commissioner Holmes

participated in weekly calls with the community. He “would get doctors, the

health district, epidemiologists” and arrange testing opportunities. Id. at

221–22. He helped set up a phone line for people without internet access to

sign up for COVID-19 vaccines. Dkt. 221 at 118–19.

      323. Commissioner Holmes also helped arrange transportation for

senior citizens and students around the county. Dkt. 222 at 237–38.

      324. Residents of benchmark Precinct 3 who now live in

Commissioner Armstrong’s precinct do not believe he would be responsive

to his constituents from their neighborhoods due to his lack of involvement

in minority community organizations and his absence from the Black and

Latino community. Id. at 240–42; Dkt. 226 at 228. Commissioner

Armstrong admitted that he has no basis to believe he is the candidate of

choice among minority voters. Dkt. 230 at 210.




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             Education
        325. Educational level is a dependable predictor of political

participation. The higher one’s education has advanced, the more likely he

or she is to be politically active. PXs-335 ¶ 68; 414 at 22; Dkt. 225 at 233–34.

        326. Minorities in Galveston County continue to bear the effects of

discrimination in education. Dkts. 222 at 73; 225 at 220. Black and Latino

residents are much less likely to have high-school diplomas than Anglo

residents. PX-414 at 25–26; Dkt. 222 at 76–77. About 87.7% of Blacks and

75.9% of Latinos over twenty-five years old have completed high school—

compared to 94.8% of Anglos. PXs-335 ¶ 14; 414 at 26. On the other hand,

about 22.1% of Blacks and 17.5% of Latinos over twenty-five years old have

earned a bachelor’s degree or higher, while the Anglo rate is 37.5%. PX-335

¶ 14.

        327. Schools in Galveston County were under a court desegregation

order from 1961 to 2009. Id. ¶ 28. During that time, the Galveston

Independent School District struggled to achieve racially balanced

enrollments in its elementary schools. Id.; Dkt. 225 at 209–10.

        328. Racial inequality in K-12 educational achievement persists in

Galveston County. PX-335 ¶¶ 28–39. Disproportionate numbers of Black




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and Latino students are not proficient in reading and math across all school

districts in Galveston County. PX-414 at 24; Dkt. 222 at 75–76.

      329. There is clear evidence in Galveston County of “practices that

limit the integration of schools and deny minority students access to

education.” PX-335 ¶ 29. Minorities are less likely than Anglos to benefit

from positive programs, such as Advanced Placement classes or gifted and

talented programs, and are more likely to suffer disciplinary action, such as

in-school and out-of-school suspension. Id. ¶¶ 29–39; PX-559; Dkts. 225 at

211–16; 226 at 118−19, 207–08.

      330. These educational disparities have contributed to the lower

likelihood that minorities in Galveston County will participate in the political

process.

            Employment and Poverty
      331. Employment disparities are important to understanding the cost

of voting; voters with lower-wage jobs are much more likely to be hindered

from accessing the ballot box. PX-414 at 26. Research also shows that the

workplace is an important site for recruitment into political participation. Id.

at 27; see also PX-335 ¶ 67. So higher rates of employment and higher-wage

jobs mean an increase in electoral participation.




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     332. Racial disparities in earnings are present in several employment

sectors within Galveston County. PXs-335 ¶¶ 40–45; 414 at 26–28. In

Galveston County, earnings for Blacks and Latinos are also lower in general

than those for Anglo employees, partly because they are clustered in jobs that

earn less. PXs-335 ¶¶ 40–45; 414 at 26–27; 559; Dkt. 225 at 222–23. Even

when they hold the same types of jobs, Blacks and Latinos earn less than

Anglo employees. PXs-335 ¶¶ 40–45; 559.

     333. Black Galveston County households have a median income of

$45,831, and Latino households have a median income of $60,297–

markedly lower than Anglo households’ median income of $86,165. PX-414

at 26; see also PX-386 ¶ 40.

     334. Likewise, the unemployment rate in Galveston County is

disproportionately higher for Black and Latino residents than for Anglo

residents. The unemployment rates for Blacks and Latinos are 9.1% and

7.0%, respectively; the unemployment rate for Anglos is 4.8%. PXs-335 ¶ 15;

414 at 28; Dkt. 222 at 79; see also PX-386 ¶ 40.

     335. About 29.2% of Black households and 15.1% of Latino

households rely on the Supplemental Nutrition Assistance Program, whereas

only 6.7% of Anglo households do. PX-386 ¶ 40.




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      336. Additionally, the child-poverty rate in Galveston County is

disproportionately higher for Black children—nearly 25%—and Latino

children–over 20%–than for Anglo children—under 10%. PX-414 at 27;

Dkt. 222 at 78–79; see also id. ¶ 40.

      337. Black and Latino residents in Galveston County have lower rates

of car ownership than do Anglo residents. PX-414 at 28; Dkt. 222 at 79. Black

households are four times less likely to have access to a car than Anglo

households; Latinos are also less likely to have access to a vehicle. PX-414 at

28.

      338. Together, these economic disparities hinder the ability of

Galveston County’s Black and Latino communities to participate effectively

in the political process.

            Housing
      339. Renters move more frequently than do homeowners and so are

less likely to vote, because changing residences frequently increases the

administrative burden of maintaining voter registration. Id. at 30.

Homeowners are also more likely to be mobilized by political campaigns,

increasing their likelihood of voting. PX-335 ¶ 69.

      340. In 1997, the Department of Housing and Urban Development

found that the Galveston Housing Authority, the agency in charge of public-



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housing assistance and the management of Section 8 vouchers, had used

public housing to reinforce patterns of segregation, in violation of Title VI of

the Civil Rights Act of 1964. Id. ¶ 48.

      341. Disparities in homeownership for Blacks and Latinos as

compared to Anglos persist in Galveston County today and have not

meaningfully decreased in recent years. Id. ¶ 49; PX-559; Dkt. 225 at 230–

31. Black and Latino residents are less likely to live in owner-occupied

housing than are Anglo residents. Dkt. 222 at 82; PX-414 at 31. About 47.5%

of Blacks reside in owner-occupied housing units. PX-335 ¶ 16. Slightly more

Latinos, 60.6%, reside in owner-occupied housing. Id. Anglo rates, though,

are at 73.3%. Id.

      342. In the aftermath of Hurricane Ike in 2008, disparities in housing

grew even more pronounced. PXs-335 ¶¶ 50–59; 412 at 40–42; 414 at 31;

Dkts. 221 at 111–13; 222 at 33–34.

      343. The city of Galveston lost 16.5% of its overall population between

2000 and 2010, including an 11.4% loss in the Anglo population compared

to a 36.7% loss in the Black population. PX-335 ¶ 51. Many of the

predominantly minority Galveston Island residents displaced by Hurricane

Ike moved to the mainland and have been unable to return due to the lack of

affordable housing. Dkt. 222 at 232–33. Rebuilding public housing after Ike


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also had a racialized component; predominantly Anglo residents and

politicians opposed rebuilding efforts. PX-412 at 40–42.

      344. These housing disparities hinder the ability of Galveston

County’s Black and Latino communities to participate effectively in the

political process.

            Public Health
      345. Healthy individuals are more likely to be civically engaged. Poor

health can reduce the odds of voting by 12%. PXs-335 ¶ 70; 414 at 31.

      346. Black     and    Latino    residents    in   Galveston     County

disproportionately suffer from public-health issues compared to Anglo

residents and continue to bear the effects of discrimination in public health.

PX-335 ¶ 58; Dkts. 222 at 83; 225 at 232.

      347. Discrimination increases incidents of psychological distress,

major depression, generalized anxiety disorder, and early initiation of

substance abuse. These general patterns have been documented among

minority residents in Galveston County. PX-335 ¶ 59. A study of 1,238

Latinos living in Texas City, published in the Journal of Social Science &

Medicine in 2013, found a significant relationship between experiences with

discrimination and poor mental-health outcomes. Id.




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        348. Significant disparities in infant health and life expectancy exist

between Blacks and Anglos in Galveston County. Id. ¶¶ 60–61; Dkt. 225 at

232–33. Black infants are more than twice as likely to have low birth weight

and have nearly double the infant mortality rate as Anglo infants. PX-335

¶ 60.

        349. In Galveston County, Blacks and Latinos suffer disparities in

insurance coverage that also affect access to preventative health care. Id.

¶ 61. Latinos between the ages of nineteen and sixty-four are more than twice

as likely as Anglos to be uninsured. Id. ¶ 17. About 12.5% of Blacks between

the same ages do not have health insurance. Id.

        350. Disparities in health outcomes for Blacks and Latinos in

Galveston County decrease their level of political participation.

             Criminal Justice
        351. Black and Latino also residents face disparities in the criminal-

justice system in Galveston County. Dkt. 222 at 84–85; PX-414 at 32–33.

Criminal-justice interactions affect political behavior because higher arrest

and incarceration rates can hinder one’s ability to vote. Dkt. 222 at 85–86;

PX-414 at 32.

        352. Black residents in Galveston County are more likely to be

arrested, and Black and Latino residents comprise a disproportionate



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percentage of jail and prison inmates compared to their share of the

population. Dkt. 222 at 36, 85. Black and Latino residents also testified to

over-policing and disparities in treatment by the criminal-justice system.

See, e.g., Dkts. 221 at 67−70 (Constable Rose describing instances of being

pulled over and treated aggressively); 226 at 13–14 (Quintero describing a

complaint LULAC received after police severely damaged a Latino family’s

house), 194−95 (Henderson-Lofton describing being pulled over by police in

League City).

      353. A highly publicized 2019 incident in which police on horseback

led a mentally disabled Black man, Donald Neely, by a rope led to widespread

criticism, including by the police chief, who stated that the officers “exercised

poor judgment.” Dkt. 221 at 73; see also Dkt. 222 at 86–87.

      Conclusions of Law
      354. The Fifteenth Amendment was ratified in 1870 “amidst the

struggles of Reconstruction to fully guarantee voting rights to newly freed

slaves.” Johnson v. Waller County, 593 F. Supp. 3d 540, 592 (S.D. Tex.

2022). Section 1 protects citizens’ right to vote from being “denied or

abridged by the United States or by any State on account of race, color, or

previous condition of servitude.” U.S. Const. amend. XV, § 1. Section 2 grants




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Congress “the power to enforce this article by appropriate legislation.” Id.

amend. XV, § 2.

      355. The first ninety-five years of congressional enforcement of the

Fifteenth Amendment “can only be regarded as a failure,” Nw. Austin Mun.

Util. Dist. No. One v. Holder, 557 U.S. 193, 197 (2009), marred by “Jim Crow

laws like literacy tests, poll taxes, and ‘good-morals’ requirements,” Milligan,

599 U.S. at 9. Motivated by the Civil Rights movement, Congress passed the

Voting Rights Act in 1965. Id. at 10. The original text of § 2 of the Voting

Rights Act “closely tracked the language” of the Fifteenth Amendment and

was “‘little-used’ for more than a decade after its passage.” Brnovich v.

Democratic Nat’l Comm., 141 S. Ct. 2321, 2331 (2021). And in 1980 in City

of Mobile v. Bolden, the Supreme Court held that § 2 prohibited only the

discriminatory intent to dilute the voting strength of a minority group—not

conduct that has the discriminatory effect of diluting its voting strength. 446

U.S. 55, 61–66 (1980) (plurality opinion). As a result, § 2 was greatly

weakened in its ability to protect minorities from voting practices producing

discriminatory results.

      356. Bolden “produced an avalanche of criticism.” Milligan, 599 U.S.

at 11 (quoting Thomas M. Boyd & Stephen J. Markman, The 1982

Amendments to the Voting Rights Act: A Legislative History, 40 Wash. &


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Lee L. Rev. 1347, 1355 (1983)). After vigorous debate, Congress amended the

Voting Rights Act in 1982, revising § 2 “to make clear that a violation could

be proved by showing discriminatory effect alone.” Gingles, 478 U.S. at 35.

      A. Section 2 of the Voting Rights Act
      357. After its amendment, § 2 specifically prohibits any “voting

qualification or prerequisite to voting or standard, practice, or procedure”

that “results in a denial or abridgement of the right of any citizen of the

United States to vote on account of race or color.” 52 U.S.C. § 10301(a). Such

a denial or abridgement occurs when “the totality of circumstances” shows

that a state’s “political processes . . . are not equally open to participation by”

members of a minority group “in that [they] have less opportunity . . . to

participate in the political process and to elect representatives of their

choice.” Id. § 10301(b).

      358. Such claims are often called Gingles claims because Thornburg

v. Gingles provides the “framework” for evaluating § 2 vote-dilution claims.

Wis. Legislature v. Wis. Elections Comm’n, 595 U.S. 398, 402 (2022) (per

curiam).13 In Gingles, the Supreme Court construed § 2 to prohibit the



      13 Gingles itself involved § 2 challenges to multimember districts, 478 U.S.

at 46, but the Supreme Court later extended the analysis to apply to § 2 challenges
to single-member districts like the ones at issue here. See Growe v. Emison, 507
U.S. 25, 40–41 (1993).

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“dispersal of [a minority group’s members] into districts in which they

constitute an ineffective minority of voters.” Cooper v. Harris, 581 U.S. 285,

292 (2017) (quoting Gingles, 478 U.S. at 46 n.11). When “minority and

majority voters consistently prefer different candidates” in such districts,

“the majority, by virtue of its numerical superiority, will regularly defeat the

choices of minority voters,” thus depriving minorities of an equal

opportunity to elect representatives of their choice. Gingles, 478 U.S. at 48.

Today, § 2 still prohibits vote dilution in redistricting plans that “minimize

or cancel out the voting strength of racial [minorities in] the voting

population.” Id. at 47 (alteration in original) (internal citations omitted)

(quoting Burns v. Richardson, 384 U.S. 73, 88 (1966)); see also Milligan,

599 U.S. at 25.

      359. In Gingles, the Supreme Court “established a two-step analysis

for vote-dilution claims.” Patino, 230 F. Supp. 3d at 675 (citing Gingles, 478

U.S. at 50–51). Plaintiffs must first establish three preconditions: “(1) [t]he

minority group must be sufficiently large and compact to constitute a

majority in a reasonably configured district, (2) the minority group must be

politically cohesive, and (3) a majority group must vote sufficiently as a bloc

to enable it to usually defeat the minority group’s preferred candidate.” Wis.

Legislature, 595 U.S. at 402. If plaintiffs establish the preconditions, they


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must then show that, under the “totality of circumstances,” the “political

process is [not] equally open to minority voters” without the proposed

district. Id. (quoting Gingles, 478 U.S. at 79). When a § 2 claim is successful,

a court will require the creation of a majority-minority election district in

which minority voters have an equal opportunity to elect their preferred

candidates. See Bartlett v. Strickland, 556 U.S. 1, 13 (2009).

      360. Plaintiffs must prove § 2 claims by a preponderance of the

evidence. LULAC v. Roscoe Indep. Sch. Dist., 123 F.3d 843, 846 (5th Cir.

1997).

      361. In Allen v. Milligan, decided earlier this year, the Supreme Court

upheld the Gingles framework. 599 U.S. 1.

               Step One—Preconditions
      362. The first precondition is that the minority group “is sufficiently

large and geographically compact to constitute a majority in a single-

member district.” Gingles, 478 U.S. at 50; see also id. at 18. This

precondition is “needed to establish that the minority has the potential to

elect a representative of its own choice.” Milligan, 599 U.S. at 18 (quoting

Growe, 507 U.S. at 40). Accordingly, the minority group must be able to

constitute a majority by CVAP in the proposed district. Valdespino v. Alamo

Heights Indep. Sch. Dist., 168 F.3d 848, 853 (5th Cir. 1999); see also LULAC



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v. Perry, 548 U.S. 399, 428–29 (2006) (analyzing CVAP and noting that

“only eligible voters affect a group’s opportunity to elect candidates”). A

plaintiff must also allege that its proposed majority-minority district “is

consistent with ‘traditional districting principles such as maintaining

communities of interest and traditional boundaries.’” Robinson v. Ardoin,

37 F.4th 208, 218 (5th Cir. 2022) (per curiam) (quoting LULAC, 548 U.S. at

433).

        363. The Supreme Court has explained that a “district will be

reasonably configured . . . if it comports with traditional districting criteria,

such as being contiguous and reasonably compact.” Milligan, 599 U.S. at 18;

see also Miller v. Johnson, 515 U.S. 900, 916 (1995) (identifying traditional

districting criteria such as “compactness, contiguity, and respect for political

subdivisions or communities defined by actual shared interests”). Courts

may also consider other traditional redistricting criteria, including equal

population, respect for political boundaries, and keeping together

communities of interest. See, e.g., Milligan, 599 U.S. at 19–20; Ala. Legis.

Black Caucus v. Alabama, 575 U.S. 254, 259 (2015); Shaw v. Reno, 509 U.S.

630, 651–52 (1993).

        364. Courts often discuss the second and third preconditions

together. The second requires the minority group to be “politically cohesive.”


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Gingles, 478 U.S. at 51. Cohesiveness concerns whether “a representative of

[a minority group’s] choice would in fact be elected.” Milligan, 599 U.S. at 18

(quoting Growe, 507 U.S. at 40). Relatedly, the third precondition is that

“the [Anglo] majority votes sufficiently as a bloc to enable it . . . usually to

defeat the minority’s preferred candidate.” Gingles, 478 U.S. at 51 (citation

omitted). The last precondition “‘establish[es] that the challenged districting

thwarts a distinctive minority vote’ at least plausibly on account of race.”

Milligan, 599 U.S. at 19 (quoting Growe, 507 U.S. at 40). Unless both

preconditions are met, “the challenged districting [does not] thwart[] a

distinctive minority vote by submerging it in a larger [Anglo] voting

population.” Growe, 507 U.S. at 40.

      365. Plaintiffs usually demonstrate minority political cohesion by

showing that “a significant number of minority group members usually vote

for the same candidates.” Gingles, 478 U.S. at 56; see also Campos v. City of

Baytown, 840 F.2d 1240, 1244 (5th Cir. 1988). That is described as “bloc

voting” 14 and typically means that a large majority of the group favors the

same candidates. When minorities and Anglos vote in opposing blocs, courts




      14 E.g., Strickland, 556 U.S. at 19 (plurality opinion); Fusilier v. Landry, 963

F.3d 447, 458 (5th Cir. 2020).

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conclude that voting is “racially polarized” and typically hold that a plaintiff

has established the second and third preconditions.

      366. The second and third preconditions view the redistricting

process from different vantages. A plaintiff must show the second

precondition for the minority population in its proposed district. See Harris,

581 U.S. at 302; LULAC, 548 U.S. at 427; Growe, 507 U.S. at 40. The third

precondition must be established for the challenged district. See Harris, 581

U.S. at 302; LULAC, 548 U.S. at 427; Growe, 507 U.S. at 40. And each of

these preconditions must be shown on a district-by-district basis. See Wis.

Legislature, 599 U.S. at 404–05; Abbott v. Perez, 138 S. Ct. 2305, 2332

(2018); LULAC, 548 U.S. at 437.

               Sufficiently Large and Geographically Compact
      367. The defendants do not dispute that Galveston County’s Black and

Latino communities, when considered as a coalition, are sufficiently large to

satisfy the first Gingles precondition. Instead, they contend that coalition

claims are per se unlawful and that the plaintiffs’ illustrative plans are not

reasonably configured. The court rejects these arguments.

      368. Coalition districts are “districts in which minorities are together

a CVAP majority, but no individual minority group is.” LULAC v. Abbott, 604

F. Supp. 3d 463, 500 (W.D. Tex. 2022). The Fifth Circuit permits coalition



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claims under § 2. See LULAC, Council No. 4434 v. Clements, 999 F.2d 831,

863–64 (5th Cir. 1993) (en banc); Campos, 840 F.2d at 1244. The

cohesiveness of minority coalitions is “treated as a question of fact, allowing

aggregation of different minority groups where the evidence suggests that

they are politically cohesive.” Clements, 999 F.2d at 864. In the Fifth Circuit,

“[t]here is nothing in the law that prevents . . . plaintiffs from identifying the

protected aggrieved minority to include both Blacks and [Latinos].” Campos,

840 F.2d at 1244.

      369. “Precedent in the Fifth Circuit is governed by a strict rule of

orderliness, such that later panels of that court, and much less district courts

within the circuit, cannot overturn decisions of prior panels.” Abbott, 604 F.

Supp. 3d at 493. The court will follow well-established Fifth Circuit

precedent and recognize that Blacks and Latinos together form to a coalition

that satisfies the first Gingles precondition.

      370. Additionally, the plaintiffs’ illustrative plans—and Map 1—

demonstrate that Galveston County’s Black and Latino population is

geographically compact enough to form a majority of eligible voters within a

reasonably configured commissioners-court precinct. Cooper, Fairfax, and

Dr. Rush have provided several illustrative plans that contain one majority

Black and Latino commissioners-court precinct and adhere to traditional


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redistricting   criteria,   including   equal   population,   contiguity,   and

compactness. These illustrative maps are but a few examples of a multitude

of potential districts that are reasonably configured and that contain a

majority Black and Latino population by CVAP.

      371. Additionally, the plaintiffs do not need to consider specific

communities of interest when drawing illustrative maps to satisfy the first

Gingles precondition. Kumar v. Frisco Indep. Sch. Dist., 476 F. Supp. 3d

439, 499 (E.D. Tex. 2020). The plaintiffs’ illustrative maps still sufficiently

preserve   communities       of   interest—namely   the   Black   and   Latino

communities in benchmark Precinct 3. As the Supreme Court recently

affirmed in Milligan, a party satisfies the first Gingles precondition by

showing that a majority-minority precinct “comports with traditional

districting criteria, such as being contiguous and reasonably compact.” 599

U.S. at 18. The plaintiffs have done so here.

      372. Furthermore, “cultural compactness” is neither an element of a

§ 2 claim nor a component of the first Gingles precondition. In LULAC v.

Perry, the Supreme Court held that one of six Latino opportunity districts

was not “reasonably compact.” 548 U.S. at 430. The district contained “a

300-mile gap between the Latino communities . . . and a similarly large gap

between the needs and interests of the two groups.” Id. at 432, 434 (noting


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that “the different characteristics, needs, and interests of the Latino

community near the Mexican border and the one in and around Austin are

well supported and uncontested”). The Court noted that “in some cases

members of a racial group in different areas—for example, rural and urban

communities—could share similar interests and therefore form a compact

district if the areas are in reasonably close proximity.” Id. at 435. The Court

concluded its discussion with this critical caveat: “We emphasize it is the

enormous geographical distance separating the [two] communities, coupled

with the disparate needs and interests of these populations—not either factor

alone—that renders [the district] noncompact for § 2 purposes.” Id.

      373. The Black and Latino areas joined in the plaintiffs’ illustrative

maps are marked by neither “enormous geographical distance” nor

“disparate needs and interests.” See id. To the contrary, there is substantial

quantitative evidence, supported by lay-witness testimony, that the needs

and interests of communities included in the plaintiffs’ illustrative plans are

similar, including issues of ongoing discrimination. Galveston County’s

Black and Latino community, therefore, is reasonably compact.

      374. The    plaintiffs’   illustrative   plans   satisfy   the   traditional

redistricting principle of geographic compactness. Cooper, Fairfax, Dr. Rush,

and Dr. Owens testified that the plaintiffs’ illustrative maps are


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geographically compact. Indeed, their illustrative plans have compactness

scores comparable to—and, in some cases, better than—the enacted plan.

Even Dr. Owens agreed that the illustrative plans are as compact as the

enacted plan. Dkt. 232 at 229, 276.

      375. While district shape is relevant to determining whether a district

satisfies the compactness inquiry, the first Gingles precondition “does not

require some aesthetic ideal of compactness”; instead, it simply mandates

“that the [minority] population be sufficiently compact to constitute a

majority in a single-member district.” Houston v. Lafayette County, 56 F.3d

606, 611 (5th Cir. 1995) (quoting Clark v. Calhoun County (Clark I), 21 F.3d

92, 95 (5th Cir. 1994)). Here, the plaintiffs’ illustrative plans are reasonably

compact, and the court does not need to weigh them against the enacted plan

in a “beauty contest.” Milligan, 599 U.S. at 21.

      376. All other traditional redistricting principles are satisfied in the

plaintiffs’ illustrative plans. They are all contiguous and satisfy the equal-

population criterion. The Supreme Court has recognized that a redistricting

plan for local jurisdictions with a maximum overall population deviation

under 10% is consistent with the one-person, one-vote principle. See

Evenwel v. Abbott, 578 U.S. 54, 60 (2016). Cooper, Fairfax, and Dr. Rush

applied this deviation measure appropriately when assessing their


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illustrative plans. The population deviation in the plaintiffs’ illustrative plans

is often lower than or like that of the enacted plan.

      377. The     plaintiffs’   illustrative   plans   maintain     “traditional

boundaries” by minimizing municipal and voting-district splits. LULAC, 548

U.S. at 433 (quotation omitted). The illustrative plans perform better than or

similar to the enacted plan in maintaining traditional boundaries.

      378. To the extent that the enacted plan had higher compactness

scores or lower population deviation than some of the plaintiffs’ illustrative

plans, such evidence is insufficient to defeat a § 2 claim. See Milligan, 599

U.S. at 19–22 (finding that the plaintiffs’ illustrative plans were reasonably

configured, even where the challenged plan arguably performed better on

certain traditional redistricting criteria than the illustrative plans); Chen v.

City of Houston, 206 F.3d 502, 519 (5th Cir. 2000). It is sufficient that

Cooper, Fairfax, and Dr. Rush reliably testified that the illustrative plans

comport with traditional redistricting principles such that they are

reasonably configured.

      379. Finally, the plaintiffs have demonstrated that race did not

predominate in drawing the illustrative maps. Cooper, Fairfax, and Dr. Rush

credibly testified that neither race nor any single criterion predominated

when they drew their illustrative plans. The illustrative plans’ compliance


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with neutral redistricting criteria confirms this, and the defendants have

failed to provide any reliable evidence to the contrary.

      380. Moreover, the Supreme Court has recently clarified that “there is

a difference between being aware of racial considerations and being

motivated by them. The former is permissible; the latter is usually not. That

is because redistricting legislatures will almost always be aware of racial

demographics, but such race consciousness does not lead inevitably to

impermissible race discrimination.” Milligan, 599 U.S. at 30 (cleaned up).

Indeed, § 2 “demands consideration of race” because “[t]he question whether

additional majority-minority districts can be drawn . . . involves a

‘quintessentially race-conscious calculus.’” Id. at 31 (quoting Abbott, 138 S.

Ct. at 2315, Johnson v. De Grandy, 512 U.S. 997, 1020 (1994)). Consideration

is not the same as predominance, and none of the defendants’ arguments or

expert analyses provide any compelling evidence that race predominated in

the plaintiffs’ illustrative plans.

      381. The court concludes that the Black and Latino population in

Galveston County is sufficiently large and geographically compact to

constitute a majority in a commissioners-court precinct, satisfying the first

Gingles precondition.




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               Political Cohesion
      382. “[T]here is no simple doctrinal test for the existence of legally

significant racial bloc voting,” Gingles, 478 U.S. at 58. But “the most

persuasive evidence of inter-minority political cohesion for Section 2

purposes is to be found in voting patterns.” Brewer v. Ham, 876 F.2d 448,

453 (5th Cir. 1989) (discussing Campos, 840 F.2d at 1244–45). A 51%

majority is “far short of the large majority typically required to show political

cohesion.” Abbott, 604 F. Supp. 3d at 499. Yet unless the evidence indicates

that two groups vote for opposing candidates, the court assesses the cohesion

of Black and Latino voters “as a whole”—i.e., as one “minority group” under

Gingles—to determine “whether the minority group together votes in a

cohesive manner.” Campos, 840 F.2d at 1245 (emphasis added).

      383. “[L]ay[-]witness testimony concerning cooperation between the

minority groups and statistical evidence can be used to prove cohesion.”

Perez v. Abbott, 274 F. Supp. 3d 624, 669 (W.D. Tex. 2017). A court must

undertake “a diligent inquiry into the political dynamics of the particular

community” before treating multiple minority groups as a coalition, but “the

determinative question is whether [B]lack-supported candidates receive a

majority of the [Hispanic] vote [and] whether Hispanic-supported

candidates receive a majority of the [Black] vote.” Brewer, 876 F.2d at 453.



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      384. All experts have agreed that general elections are the most

probative elections to consider for this case. They also agree that RxC

ecological inference is an appropriate method for analyzing the voting

patterns of different demographic groups in Galveston County. Using RxC

ecological-inference analysis, the undisputed results show that Black and

Latino voters frequently prefer the same candidates. When the voter file is

used to refine analysis using the BISG method, the results show that even

higher estimated percentages of the two groups vote together. The general-

election results strongly support a conclusion that a supermajority of Black

voters vote for Latino-preferred candidates and vice-versa.

      385. Primary elections are relevant but “less probative than general

elections for detecting racially polarized voting in an at-large district because

general elections present the same candidate pool to every voter, while

primary elections limit voters to one party’s candidates.” Patino, 230 F.

Supp. 3d at 694. The court assigns significantly less weight to the statistical

analysis of primary elections. Still, the combined results of Drs. Oskooii’s and

Alford’s Democratic-primary analyses show that Black and Latino voters

shared a top-choice candidate in most Democratic primaries.

      386. The plaintiffs produced significant evidence of non-statistical

cohesion between the Black and Latino communities in Galveston County.


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This leads the court to conclude that there are distinctive minority interests

that tie the two communities together.

      387. The statistical analyses from general elections, statistical

analyses from primary elections, and non-statistical evidence of cohesion all

support the conclusion that Black and Latino voters in Galveston County act

as a coalition for purposes of the second Gingles precondition because

“[B]lack-supported candidates receive a majority of the [Hispanic] vote

[and] Hispanic-supported candidates receive a majority of the [Black] vote.”

Brewer, 876 F.2d at 453.

      388. The undisputed evidence shows that the combined Black and

Latino coalition is highly cohesive. The undisputed RxC ecological-inference

analysis shows that over 75% of Black and Latino voters have voted for the

same candidates in numerous elections. This satisfies the Gingles standard

that “a significant number of minority group members usually vote for the

same candidates.” Gingles, 478 U.S. at 56.

      389. Due to the limited usable data available for local non-partisan

elections, the court affords very little weight to them.

      390. The plaintiffs’ experts’ electoral-performance/reconstituted-

election analyses show that if this cohesive group constitutes a majority of




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eligible voters in a county-commissioner precinct, it can elect a candidate of

their choice.

      391. The court concludes that the county’s Black and Latino

populations act as a coalition and are politically cohesive.

                Cannot Elect Candidate of Choice
      392. Generally, an Anglo “bloc vote that normally will defeat the

combined strength of minority support . . . rises to the level of legally

significant [Anglo] bloc voting.” Rodriguez, 964 F. Supp. 2d at 757.

      393. The defendants do not dispute the statistical evidence of Drs.

Barreto and Oskooii showing that more than 85% of Anglos vote cohesively

for candidates running in opposition to those supported by more than 85%

of Black and Latino voters. They also do not dispute the plaintiffs’ electoral-

performance/reconstituted-election analyses, which show that the degree of

Anglo bloc voting is sufficient to defeat a minority-preferred candidate in

each commissioner precinct in the enacted plan.

      394. The undisputed evidence shows that Anglo voters in Galveston

County vote cohesively and for candidates opposing those supported by a

majority of Black and Latino voters. Anglo voters do so at a rate sufficient to

defeat the minority-preferred candidate consistently in each of the enacted

commissioners-court precincts.



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      395. The plaintiffs must also show “‘that the challenged districting

thwarts a distinctive minority vote at least plausibly on account of race.’”

Milligan, 599 U.S. at 19 (quoting Growe, 507 U.S. at 40). After plaintiffs

present statistical evidence showing a racially divergent voting pattern, the

burden shifts to defendants to show that there is a race-neutral explanation

for the racially divergent voting pattern. Teague v. Attala County, 92 F.3d

283, 290 (5th Cir. 1996); see Gingles, 478 U.S. at 63; Rodriguez, 964 F. Supp.

2d at 760. Whether the Anglo-preferred elected officials are responsive to

minority communities “is intimately related” to the legal significance of bloc

voting because bloc voting “‘allows those elected to ignore [minority]

interests without fear of political consequences.’” Clements, 999 F.2d at 857

(quoting Gingles, 478 U.S. at 48 n.14).

      396. Contrary to the defendants’ contentions, the plaintiffs do not

need to initially show that partisan affiliation does not cause divergent voting

patterns. See Rodriguez, 964 F. Supp. 2d at 760; Lopez v. Abbott, 339 F.

Supp. 3d 589, 603 (S.D. Tex. 2018).

      397. By establishing the second and third Gingles preconditions

through acceptable statistical evidence and lay testimony, the plaintiffs have

shown that racially polarized voting patterns exist in Galveston County

elections.


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      398. The       defendants   have   failed   to   present    reliable   or

methodologically sound evidence sufficient to dispute that Anglo bloc voting

“thwarts” the Black and Latino voting coalition in Galveston County for

reasons wholly unconnected to race. The preponderance of the evidence

supports the conclusion that the challenged plan “‘thwarts a distinctive

minority vote’ at least plausibly on account of race.” Milligan, 599 U.S. at 19

(quoting Growe, 507 U.S. at 40).

      399. In reaching this conclusion, the court gives considerable weight

to the facts that:

         • there is a lack of successful minority candidates emerging
           from Republican primaries,

         • there is an extreme degree of Anglo bloc voting for
           candidates running against minority-preferred candidates,

         • minority candidates tend to only be elected from majority-
           minority areas,

         • there are continued racial appeals in Galveston County
           politics,

         • lay witnesses recounted instances of discrimination in
           Galveston County,

         • there are persistent racial disparities across a wide range of
           measures in Galveston County, and

         • Anglo voters in Galveston County overwhelmingly
           participate in Republican primaries, while Black and
           Latino voters in Galveston County overwhelmingly
           participate in Democratic primaries.


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      400. In sum, the court concludes that the plaintiffs have satisfied all

three Gingles preconditions.

            Step Two—Totality of the Circumstances
      401. After examining the Gingles preconditions, courts must “adhere

to the Supreme Court’s instruction to examine challenged laws and practices

in an intensely fact-based and local totality-of-the-circumstances analysis.”

Veasey v. Abbott, 830 F.3d 216, 261 (5th Cir. 2016) (citing Gingles, 478 U.S.

at 36–38). The totality-of-the-circumstances determination is “flexible” and

“guided by factors drawn from the Senate Judiciary Committee report on the

1982 amendments to the Voting Rights Act.” Teague, 92 F.3d at 292. These

factors include:

      (1) the extent of any history of official discrimination in the state
      or political subdivision that touched the right of the members of
      a minority group to register, to vote, or otherwise to participate
      in the democratic process;

      (2) the extent to which voting in the elections of the state or
      political subdivision is racially polarized;

      (3) the extent to which the state or political subdivision has used
      unusually large election districts, majority vote requirements,
      anti-single shot provisions, or other voting practices or
      procedures that may enhance the opportunity for discrimination
      against the minority group;

      (4) if there is a candidate slating process, whether the members
      of the minority group have been denied access to that process;

      (5) the extent to which members of the minority group in the
      state or political subdivision bear the effects of discrimination in
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      such areas as education, employment[,] and health, which hinder
      their ability to participate effectively in the political process;

      (6) whether political campaigns have been characterized by overt
      or subtle racial appeals; [and]

      (7) the extent to which members of the minority group have been
      elected to public office in the jurisdiction.

S. Rep. at 28–29. Other factors include whether “there is a significant lack of

responsiveness on the part of elected officials to the particularized needs of

the members of the minority group” and whether “the policy underlying the

state or political subdivision’s use of such . . . standard, practice, or

procedure is tenuous.” Id.

      402. Ultimately, § 2 violations require “an intensely local appraisal of

the electoral mechanism at issue, as well as a searching practical evaluation

of the past and present reality.” Milligan, 599 U.S. at 19. Importantly, there

is “no requirement that any particular number of factors be proved, or that a

majority of them point one way or the other.” S. Rep. at 29. The court may

instead use its “overall judgment, based on the totality of circumstances and

guided by those relevant factors in the particular case,” to decide “whether

the voting strength of minority voters is . . . ‘minimized or canceled out.’” Id.

at 29 n.118. “In short, these factors simply suggest a framework for evidence

to be presented at trial which is likely to aid a court’s later consideration

towards legal conclusions.” Johnson, 593 F. Supp. 3d at 600.


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      403. “‘[I]t will be only the very unusual case in which the plaintiffs can

establish the existence of the three Gingles factors but still have failed to

establish a violation of § 2 under the totality of the circumstances.’” Clark I,

21 F.3d at 97 (quoting Jenkins v. Red Clay Consol. Sch. Dist. Bd. of Educ., 4

F.3d 1103, 1135 (3d Cir. 1993)).

      404. Here, most of the Senate factors support § 2 liability. See

generally PXs-335; 414. Substantial socio-economic differences between

Black and Latino residents and Anglo residents in Galveston County create

barriers to voting. The presence of racial appeals in recent local political

campaigns, relative lack of Black and Latino electoral success, and lack of

responsiveness on the part of Galveston County’s officials to the needs of the

Black and Latino communities further support this finding. Finally, the 2021

redistricting plan’s justifications are tenuous and will prevent Galveston

County’s Black and Latino communities from electing a candidate of their

choice.

      405. Senate Factor 2: Racially Polarized Voting. The plaintiffs have

shown extensive evidence of racially polarized voting in Galveston County.

Racial-bloc voting “allows those elected to ignore [minority] interests

without fear of political consequences.” Rogers v. Lodge, 458 U.S. 613, 623




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(1982). Racial-bloc voting continues to be a reality in Galveston County

elections.

         406. Senate Factor 3: Voting Practices Enhancing the Opportunity for

Discrimination. The plaintiffs have also shown that voting practices exist

that may “enhance the possibility that the [c]ounty’s map has a dilutive

effect.” Rodriguez, 964 F. Supp. 2d at 785. Practices deemed to satisfy this

factor exist in Galveston County, including voter purges and racially

disparate access to polling places. Id. at 780–84. The majority-vote

requirement for primaries provides further support. See Jamison v. Tupelo,

471 F. Supp. 2d 706, 714 (N.D. Miss. 2007) (“Majority[-]vote primaries

reduce the chance that a minority candidate will advance to a general

election.”). The court finds that this factor weighs slightly in the plaintiffs’

favor.

         407. Senate Factor 5: Effects of Discrimination Hindering Political

Participation. The plaintiffs have demonstrated pervasive socio-economic

disparities between Galveston County’s Black and Latino communities on

the one hand, and the Anglo population on the other. The defendants do not

contest this evidence. See Dkt. 230 at 280.

         408. In addition, Black and Latino voters participate in Galveston

County elections at a lower rate than do Anglo voters. Because “courts have


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recognized that disproportionate educational[,] employment, income

levels[,] and living conditions arising from past discrimination tend to

depress minority political participation” plaintiffs “need not prove any

further causal nexus between their disparate socio-economic status and the

depressed level of political participation.” S. Rep. at 29 n.114 (citing White v.

Regester, 412 U.S. 755, 768 (1973), Kirksey v. Bd. of Supervisors, 528 F.2d

139, 145 (5th Cir. 1977)); see also Clements, 999 F.2d at 867 (noting that the

Senate Report does not “insist[] upon a causal nexus between socioeconomic

status and depressed participation”).

      409. Nevertheless, the plaintiffs’ experts have shown that the effects

of the education, economic, housing, health, and other racially linked

disparities in Galveston County negatively affect voter behavior.

      410. Senate Factor 6: Racial Appeals. Evidence of racial appeals in

political campaigns, even while “neither frequent nor routine,” can

“contribute” to a finding that minority voters lack equal opportunities to

participate politically. See Patino, 230 F. Supp. 3d at 715. Here, the plaintiffs

have demonstrated this factor by showing unrebutted evidence of racial

appeals in recent political campaigns. These racial appeals contribute—albeit

much less than other factors—to the court’s finding that Black and Latino

voters do not have equal opportunities for political participation.


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      411. Senate Factor 7: Minority Election to Public Office. Black and

Latino candidates’ success in elections “has been slow, slight, and

disproportionately lower than” their population share in Galveston County.

See Patino, 230 F. Supp. 3d at 715. In analyzing whether “minority voices are

heard in a meaningful way during pertinent political decisions, versus being

shut out of the process altogether,” the court concludes that the enacted

plan’s elimination of Precinct 3 falls squarely within the latter category.

Johnson, 593 F. Supp. 3d at 608; see also Clark v. Calhoun County, 88 F.3d

1393, 1397 (5th Cir. 1996) (Clark II) (holding that lack of minority electoral

success in a relevant district has a significant effect on the evaluation of vote-

dilution claims). The defendants’ reliance on exogenous elections “not

involving the particular office at issue” is “less probative than elections

involving the specific office.” Clark II, 88 F.3d at 1397. This factor strongly

supports that Blacks and Latinos do not have an equal opportunity to

participate in the political process.

      412. Additional Senate Factor: Lack of Responsiveness. Beyond the

Senate factors, the totality-of-the-circumstances inquiry “requires a court to

ask whether there is a significant lack of responsiveness by elected officials

to the minority group members’ particularized needs.” Patino, 230 F. Supp.

3d at 715–16. This factor weighs in the plaintiffs’ favor. Numerous witnesses


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testified to the lack of responsiveness by the commissioners court in public

housing—particularly after Hurricane Ike—as well as in education and

criminal justice. Additionally, the process by which the commissioners court

adopted the 2021 redistricting plan demonstrates the county’s pattern of

“[i]gnoring clear and supported objections about the racially disparate

impact of a proposed law,” which is probative of a lack of responsiveness to

minority concerns. Id. at 717 (citing Veasey, 830 F.3d at 262).

      413. Additional Senate Factor: Tenuousness of Policy. Moreover,

“[a]long with elected officials’ lack of responsiveness to minority needs, a

tenuous fit between the expressed policy and the provisions of the law

bolsters the conclusion that minorities are not able to equally participate in

the political process.” Veasey, 830 F.3d at 262–63. Although a jurisdiction

“is entitled to make policy choices about when and how it will address various

priorities,” a policy’s rationales are tenuous when the enacted law “fail[s] to

correspond in any meaningful way to the legitimate interests [it] claims to

have been advancing.” Id. at 263.

      414. Here, very few members of the public advocated for creating a

single coastal precinct. This criterion is further undermined by the existence

of several maps that both create a single coastal precinct and maintain a




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majority-minority precinct. Id. Drawing a coastal precinct neither requires

nor justifies cracking the county’s minority population.

      415. Additional     Relevant     Factor:    Proportionality.     Finally,

“proportionality is ‘a relevant fact in the totality of circumstances.’” LULAC,

548 U.S. at 436 (quoting De Grandy, 512 U.S. at 1000); see also De Grandy,

512 U.S. at 1025 (O’Connor, J., concurring) (“Lack of proportionality is

probative evidence of vote dilution.”). In a vote-dilution claim, “it is the

status of the candidate as the chosen representative of a particular racial

group, not the race of the candidate, that is important.” Citizens for a Better

Gretna v. City of Gretna, 834 F.2d 496, 503 (5th Cir. 1987) (quoting Gingles,

478 U.S. at 69).

      416. For that reason, it is irrelevant that Commissioner Armstrong is

Black. His precinct is predominantly Anglo, and several witnesses—

including Commissioner Armstrong himself—testified that he would not be

the candidate of choice of Black and Latino voters.

      417. The county’s plan precludes Black and Latino voters from

electing a candidate of choice in any commissioners precinct. It does so even

though these two groups comprise 38% of the total population in Galveston

County. Moreover, it eliminated an existing commissioners precinct where

such an opportunity had existed for decades.


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      418. “Shut Out of the Process Altogether.” Another judge in this

district recently noted in another Voting Rights Act case that “an underlying

concern” in such cases “is whether minority voices are heard in a meaningful

way” or are “shut out of the process altogether.” Johnson, 593 F. Supp. 3d at

608 (Eskridge, J.). Looking—as this court must—at the totality of the

circumstances, it is stunning how completely the county extinguished the

Black and Latino communities’ voice on its commissioners court during

2021’s redistricting.

      419. Galveston County was created in 1838. From its founding, it

would be 133 years before a Latino, Frank Carmona, was elected to

commissioners court. And it would be 150 years before a Black, Wayne

Johnson, won a seat. Commissioner Johnson’s district, old Precinct 3, would

continue to elect the minority community’s candidate of choice right up until

2021, when Precinct 3 was summarily carved up and wiped off the map.

Blacks’ and Latinos’ commissioner of choice was always a lonely voice on the

court, but that commissioner’s presence—whether it was Wayne Johnson or

Stephen Holmes—meant that “minority voices [were] heard in a meaningful

way.” Id. The result of 2021’s redistricting, however, has amounted to Black

and Latino voters, as a coalition of like-minded citizens with shared

concerns, “being shut out of the process altogether.” Id.


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      420. This is not a typical redistricting case. What happened here was

stark and jarring. The commissioners court transformed Precinct 3 from the

precinct with the highest percentage of Black and Latino residents to that

with the lowest percentage. Dkt. 223 at 42. The circumstances and effect of

the enacted plan were “mean-spirited” and “egregious” given that “there was

absolutely no reason to make major changes to Precinct 3.” Id. at 42–43.

Looking at the totality of the circumstances, it was a clear violation of § 2 of

the Voting Rights Act. And it must be overturned.

      421. The plaintiffs have demonstrated that the totality of the

circumstances shows that Black and Latino voters in Galveston County have

“less opportunity than other members of the electorate to participate in the

political process and to elect representatives of their choice.” Gingles, 478

U.S. at 63.

              Strict Scrutiny
      422. Finally, the defendants argue in their post-trial briefing that § 2

is “no longer constitutional” because it is “too temporally distant from the

wrongs it was built to remedy.” Dkt. 244 at 66. According to them, “the lack

of a temporal limit or termination mechanism” in § 2 “no longer satisfies

strict scrutiny.” Id. at 65. They rely on the Supreme Court’s recent decision

in Students for Fair Admissions, Inc. v. President & Fellows of Harvard



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College, which reasoned that race-based admissions programs must have

reasonable durational limits. Id. at 65 (citing 600 U.S. 181, 223–28 (2023)).

Additionally, they cite obiter dictum from Shelby County, where the Court

noted that the Voting Rights Act’s coverage formula for preclearance used

“decades-old data relevant to decades-old problems, rather than current data

reflecting current needs.” Id. (citing Shelby County, 570 U.S. at 553). Finally,

the defendants highlight Justice Kavanaugh’s concurrence in Milligan, in

which he expressly noted that he did not consider this temporal-limit

argument. Id. (citing Milligan, 599 U.S. at 45 (Kavanaugh, J., concurring)).

From Kavanaugh’s concurrence, the defendants surmise that “a [five-]justice

majority might have reached a different result” if the parties preserved such

an issue for appeal. Dkt. 244 at 66.

      423. In Milligan, Justice Kavanaugh briefly discussed this temporal

argument:

      Justice [Thomas] notes, however, that even if Congress in 1982
      could constitutionally authorize race-based redistricting under
      § 2, for some period of time, the authority to conduct race-based
      redistricting cannot extend indefinitely into the future. But
      Alabama did not raise that temporal argument in this Court, and
      therefore I would not consider it at this time.
599 U.S. at 45 (internal citation omitted). Although the two dissenting

opinions “raised arguments about the constitutionality of the Gingles

framework, neither of them stated that Section 2 of the Voting Rights Act


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should be deemed unconstitutional.” Alpha Phi Alpha Fraternity, Inc. v.

Raffensperger, 2023 WL 5674599, at *20 (N.D. Ga. July 17, 2023) (citing

Milligan, 599 U.S. at 45–94 (Thomas, J., dissenting), id. at 95–109 (Alito, J.,

dissenting)). As affirmed by a five-justice majority in Milligan, the Gingles

framework remains controlling precedent.

      424. The court is unconvinced by this temporal-limit argument. The

“mere fact that race [is] given some consideration in the districting process,

and even the fact that minority-majority districts were intentionally created,

does not alone suffice in all circumstances to trigger strict scrutiny.” Chen,

206 F.3d at 506 (citing Shaw v. Hunt, 517 U.S. 899, 904–05 (1996)). The

Supreme Court has assumed that compliance with § 2 can be narrowly

tailored to serve a compelling interest. Bush v. Vera, 517 U.S. 952, 977

(1996). And the Fifth Circuit has expressly held that compliance with § 2

“constitutes a compelling government interest” that may narrowly tailor the

use of race in restricting plans “at the expense of traditional political

concerns no more than is reasonably necessary to remedy the wrong.” Clark

II, 88 F.3d at 1405–06.

      425. Although the defendants speculate that the Voting Rights Act has

outlived its usefulness, they have not shown that § 2 does not narrowly

remedy the current discriminatory effects in Galveston County’s


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commissioners-court elections. Accordingly, § 2’s lack of a temporal limit

survives strict scrutiny.

      B. Remaining Constitutional Claims
      426. In the 1982 amendments to § 2 of the Voting Rights Act,

Congress “‘repudiated’ a requirement that plaintiffs prove intentional

discrimination to succeed on a claim that a challenged action violates the

Voting Rights Act.” Patino, 230 F. Supp. 3d at 718 (quoting Gingles, 478 U.S.

at 44). The amended § 2 “was designed to restore the ‘results test’—the legal

standard that governed voting discrimination cases” before the Supreme

Court’s decision in Bolden. Gingles, 478 U.S. at 44 n.8. Thus, the “right”

question following the amendment and Gingles is not whether the

challenged mechanism “was adopted or maintained with the intent to

discriminate against minority voters” but instead whether it left the plaintiffs

without “an equal opportunity to participate in the political process and to

elect candidates of their choice.” Id. at 44 (quoting S. Rep. at 28).

      427. This court does not need to make findings on intentional

discrimination or racial gerrymandering in this case. When plaintiffs succeed

on their Gingles claims, the court need not determine the outcome of the

intentional-discrimination or racial-gerrymandering claims unless “the

remedy to which [the plaintiffs] would be entitled for a discriminatory intent



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violation is potentially broader than the remedy the district court may

fashion for the discriminatory impact violation.” Id. at 230 n.11 (citing City

of Richmond v. United States, 422 U.S. 358, 378 (1975)).

     428. Here, the relief the plaintiffs seek is not broader than that which

they are entitled to under § 2. They all seek: (1) declaratory judgments that

the enacted plan violates the law; (2) preliminary and permanent injunctions

preventing the defendants from calling, holding, supervising, or certifying

any elections under the enacted plan; (3) procedures for the commissioners

court to adopt a valid redistricting plan; and (4) attorneys’ fees and costs.

Dkt. 42 at 32–34; Galveston County, No. 3:22-cv-97, ECF No. 38 at 25–26

(May 31, 2022); Dickinson Bay Area Branch NAACP, No. 3:22-cv-117, ECF

No. 38 at 38–39 (S.D. Tex. May 25, 2022); see also Dkts. 241, 242-1, 243-1.

The requested relief is neither exclusive to intentional-discrimination or

racial-gerrymandering claims nor broader than the relief allowed under § 2.

     429. The court acknowledges that in their post-trial briefing the

NAACP plaintiffs have asked the court “to determine the appropriateness of

retaining jurisdiction under Section 3(c) of the Voting Rights Act”—i.e.,

instituting a preclearance requirement on Galveston County. Dkt. 242 at 30.

Section 3 permits this remedy if the court finds “that violations of the

fourteenth or fifteenth amendment justifying equitable relief have occurred


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within the territory of” the defendant state or political division. 52 U.S.C.

§ 10302(c). Under § 2 alone, the court could not order § 3(c) preclearance.

But the court sees this requested relief as akin to “special damages”—“those

which, although resulting from the commission of [a] wrong, are neither

such a necessary result that they will be implied by law nor will be deemed

within the contemplation of the parties.” Hycel, Inc. v. Am. Airlines, Inc.,

328 F. Supp. 190, 193 (S.D. Tex. 1971). None of the plaintiffs pleaded for relief

under § 3(c)—let alone with particularity—as required by Fed. R. Civ. P. 9(g).

Because the plaintiffs never sought this relief with any specificity before or

during trial, the court will not entertain such relief now.

      430. Therefore, the court declines to reach the plaintiffs’ remaining

intentional-discrimination and racial-gerrymandering claims.

      Relief
      431. “When devising a remedy to a § 2 violation, the district court’s

‘first and foremost obligation . . . is to correct the [§ 2] violation.’” United

States v. Brown, 561 F.3d 420, 435 (5th Cir. 2009) (quoting Bone Shirt v.

Hazeltine, 461 F.3d 1011, 1022 (8th Cir. 2006)). Any remedy “should be

sufficiently tailored to the circumstances giving rise to the § 2 violation.”

Veasey, 830 F.3d at 269 (quoting Brown, 561 F.3d at 435). When possible,

courts “should respect a legislature’s policy objectives when crafting a



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remedy,” even “when some aspect of the underlying law is unenforceable.”

Id.

      432. The court recognizes that its review of the commissioners court’s

redistricting process “represents a serious intrusion on the most vital of local

functions.” Miller, 515 U.S. at 915. “There are times when a court might give

a . . . legislature an opportunity to cure the infirmities . . . before permitting

the district court to fashion a remedy.” Veasey, 830 F.3d at 269. Generally,

courts should “offer governing bodies the first pass at devising” § 2 remedies.

Id. (quoting Brown, 561 F.3d at 435); see also Wise v. Lipscomb, 437 U.S.

535, 540 (1978) (“[R]edistricting and reapportioning legislative bodies is a

legislative task which the federal courts should make every effort not to pre-

empt.”). But “when it is not practicable to permit a legislative body this

opportunity because of an impending election, it becomes the unwelcome

obligation of the federal court to devise and impose a remedy pending later

legislative action.” Veasey, 830 F.3d at 270 (cleaned up) (quoting Wise, 437

U.S. at 540).

      433. Galveston     County’s    2024     elections   are   imminent.    The

commissioners court must have an election map in place before the statutory

opening date for candidate filing on November 11, 2023. See Tex. Elec. Code




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§ 172.023(b). As established, the enacted plan violates § 2 of the Voting

Rights Act, and so the county cannot use this map for future elections.

      434. To balance the commissioners court’s control over the

redistricting process against the need for a plan that conforms with § 2 for

the 2024 election, the court will allow the defendants until October 20,

2023, to file a redistricting plan with supporting expert analysis establishing

that it adheres to § 2 and has at least one majority-minority precinct. The

plaintiffs may file consolidated objections to the defendants’ plan with

proposed alternative plans and supporting expert analysis by October 27,

2023. The court will conduct an in-person hearing on November 1, 2023,

at 2 p.m. to decide which plan to order into effect.

      435. If the defendants fail or prefer not to submit a revised plan, they

are ordered to implement the illustrative plan presented by Anthony Fairfax

on August 10, 2023 (PX-339), on or before November 1, 2023, and use

that plan for all future elections until the commissioners court adopts a

different plan.

      Conclusion
      The court finds that the 2021 commissioners-court precinct map

adopted by the Galveston County Commissioners Court on November 12,

2021, violates § 2 of the Voting Rights Act. Regardless of the intent or



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motivation of the commissioners court, the enacted plan denies Black and

Latino voters an equal opportunity to participate in the political process and

to elect a candidate of their choice. The court will enter a separate order

conforming to these findings and conclusions.

     Signed on Galveston Island this 13th day of October, 2023.



                                      __________________________
                                      JEFFREY VINCENT BROWN
                                      UNITED STATES DISTRICT JUDGE




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